Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 1 of 274 Page ID
                                 #:2411




                           EXHIBIT 1
        Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 2 of 274 Page ID
                                         #:2412


From:                           Laina Herbert
Sent:                           Tuesday, September 21, 2021 5:05 PM
To:                             'Timothy Ofak'
Cc:                             Daniel Berger; Kyle McGee; Caitlin Moyna; 'bcutter@cutterlaw.com';
                                'jparker@cutterlaw.com'; 'nthomas@theemploymentattorneys.com';
                                'jferris@theemploymentattorneys.com'; 'mlingle@theemploymentattorneys.com'; Mitch
                                Kider; Joel Schiffman; Jeffrey Blackwood; Joshua Abel; evan@abelattorneys.com;
                                jrosenthal@mhlawcorp.com
Subject:                        RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental
                                Responses and Objections to NAF's Second Set of Interrogatories to Relator, and
                                Verifications [IWOV-LEGAL.FID314664]



Tim,

The basis for the application for expedited treatment of Relator’s motion is that if the standard
briefing schedule is observed, the motion to extend the schedule would be heard at the earliest
on October 22, 2021, after the majority of the depositions have taken place. This would deprive
Relator of the relief she seeks in the motion, which is to have the benefit of full production and
review of documents prior to taking depositions.

Relator’s proposed briefing schedule is for NAF to submit an opposition brief by September 24,
2021, and for Relator to reply on September 27, 2021.

We can confirm that we have “discussed thoroughly . . . the substance of the contemplated
motion” to extend the schedule during our meet-and-confer on September 16.”

Regards, Laina

Laina M. Herbert | Grant & Eisenhofer P.A.
Associate
123 S. Justison Street
Wilmington, DE 19801
Tel: 302.622.7016
Fax: 302.622.7100
Cell: 302.332.4210
LHerbert@gelaw.com | www.gelaw.com

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622-7016 and permanently delete the original and any copy of any e-mail and any printout thereof.

From: Timothy Ofak <ofak@thewbkfirm.com>
Sent: Tuesday, September 21, 2021 4:14 PM
To: Laina Herbert <lherbert@gelaw.com>

                                                          1
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 3 of 274 Page ID
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>;
                                                          #:2413                  Caitlin Moyna <cmoyna@gelaw.com>;
'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>; Mitch Kider
<Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Jeffrey Blackwood
<Blackwood@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Laina,

Regarding the ex parte application, Relator has failed to explain the substance of the proposed
application in accordance with the local rules and Judge Gutierrez’s rules concerning such
applications. For instance, Relator has not explained the basis for the application, nor has she
provided her proposed briefing schedule. Please provide this information in accordance with the
rules and we will provide you with NAF’s position by noon eastern time tomorrow, September 22,
2021.

Regarding Relator’s forthcoming motion to modify the scheduling order, please confirm that Relator
has “discussed thoroughly . . . the substance of the contemplated motion” during our meet-and-
confer on September 16 in accordance with Local Rule 7-3. If that is the case, then NAF intends to
oppose the motion.

Thank you,

Tim

Timothy P. Ofak
Weiner Brodsky Kider PC
1300 19th Street NW 5th Floor
Washington DC 20036
office: 202 628 2000
direct: 202 557 3517
facsimile: 202 628 2011
ofak@thewbkfirm.com
www.thewbkfirm.com


From: Laina Herbert [mailto:lherbert@gelaw.com]
Sent: Tuesday, September 21, 2021 9:12 AM
To: Timothy Ofak <ofak@thewbkfirm.com>
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; Caitlin Moyna <cmoyna@gelaw.com>;
'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>; Mitch Kider
<Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Jeffrey Blackwood
<Blackwood@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com


                                                          2
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 4 of 274 Page ID
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions,#:2414
                                                            Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Tim,

Following up on Caitlin’s email below, we also plan to file an ex parte application for an order
modifying and shortening the briefing and hearing schedule for Relator’s motion to modify the
scheduling order and continue the trial and related dates. Please let us know NAF’s position on
both the ex parte application and Relator’s motion by the close of business today.

Regards, Laina

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Fax: 302.622.7100
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LHerbert@gelaw.com | www.gelaw.com

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622-7016 and permanently delete the original and any copy of any e-mail and any printout thereof.

From: Caitlin Moyna
Sent: Monday, September 20, 2021 6:45 PM
To: Timothy Ofak <ofak@thewbkfirm.com>; Laina Herbert <lherbert@gelaw.com>
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; 'bcutter@cutterlaw.com'
<bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>; Mitch Kider
<Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Jeffrey Blackwood
<Blackwood@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Dear Tim,

We expect to be able to serve updated responses and objections to NAF’s second set of interrogatories tomorrow,
based on the information that Relator has as of now. NAF’s third set of interrogatories are indisputably contention
interrogatories, and Relator expects to be able to provide responses near the completion of fact discovery, as she will
need to incorporate remaining discovery into her responses. With regard to NAF’s claim of privilege, simply identifying
that the privilege is promulgated by the OCC is insufficient. Relator needs to know the specific rule in order to evaluate
the privilege claim.




                                                             3
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 5 of 274 Page ID
In addition, we write to follow up on our conversation of#:2415
                                                          September 16, 2021. In light of your refusal to agree to our
requested extension of the discovery schedule as discussed on Thursday, we want to alert you that we will be moving
the Court for such extension tomorrow.

Further, to the extent that any depositions remain on the calendar in September and October, due to ongoing concerns
about Covid-19 and the Delta variant, and particularly in light of high infection rates in Southern California, we do not
think it is prudent to go ahead with the depositions in person, and will be switching them to remote depositions. We
will serve amended notices as soon as we are able.

Finally, we initially requested to take Rick Arvielo’s deposition towards the end of the deposition schedule, and given
that depositions will now be remote, we request that you provide alternative dates for his deposition during the weeks
of October 18 and 25. We expect Mr. Arvielo to have more flexibility in his schedule for a remote deposition.

Best regards,
Caitlin

Caitlin M. Moyna, Esq.
Grant & Eisenhofer, P.A.
485 Lexington Avenue
New York, NY 10017
(646) 722-8513

From: Timothy Ofak <ofak@thewbkfirm.com>
Sent: Monday, September 20, 2021 1:11 PM
To: Laina Herbert <lherbert@gelaw.com>; Caitlin Moyna <cmoyna@gelaw.com>
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; 'bcutter@cutterlaw.com'
<bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>; Mitch Kider
<Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Jeffrey Blackwood
<Blackwood@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Counsel,

I am following up on your August 30, 2021, email in which Relator agreed to provide supplemental
interrogatory responses to NAF’s second set of interrogatories by last Friday, September
17. However, we did not receive the supplemental response. Please provide us with an update. We
have tried to worked with Relator’s counsel regarding the timing of her supplements, but we are
concerned by Relator’s failure to meaningfully respond in a timely manner to NAF’s second set of
interrogatories, which were served on February 26, 2021.

Second, you indicated during the September 10, 2021, meet-and-confer that you would let us know
when Relator would respond to NAF’s third set of interrogatories last week. However, we did not
receive an update. Please provide us with one. Again, we have tried to worked with Relator’s
counsel regarding the timing of her responses, but we are concerned by Relator’s failure to
meaningfully respond in a timely manner to NAF’s third set of interrogatories, which were served on
May 26, 2021.
                                                            4
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 6 of 274 Page ID
                                               #:2416
Finally, during the September 9, 2021, meet-and-confer in connection with Relator’s August 30, 2021,
letter regarding NAF’s privilege logs, NAF indicated that the privilege discussed in connection with
category 1 was promulgated by the OCC. Please let us know if this satisfies Relator’s concern
regarding this category.

Thank you,

Tim

Timothy P. Ofak
Weiner Brodsky Kider PC
1300 19th Street NW 5th Floor
Washington DC 20036
office: 202 628 2000
direct: 202 557 3517
facsimile: 202 628 2011
ofak@thewbkfirm.com
www.thewbkfirm.com


From: Laina Herbert [mailto:lherbert@gelaw.com]
Sent: Monday, August 30, 2021 2:01 PM
To: Timothy Ofak <ofak@thewbkfirm.com>; Mitch Kider <Kider@thewbkfirm.com>; Joel Schiffman
<Schiffman@thewbkfirm.com>; Jeffrey Blackwood <Blackwood@thewbkfirm.com>; Joshua Abel
<Josh@abelattorneys.com>; evan@abelattorneys.com; jrosenthal@mhlawcorp.com
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; Caitlin Moyna <cmoyna@gelaw.com>;
'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Tim:

Following up on our August 20, 2021 meet and confer, Relator has considered NAF’s request to
supplement her Second Supplemental Response and Objections to Interrogatory Nos. 5-7, and
agrees to do so by September 17, 2021.

In response to your inquiry regarding whether any responsive materials had been located in
response to Request for Production No. 11, Thomas & Solomon conducted a diligent search,
but did not find any responsive materials.

During the August 20th meet and confer, NAF agreed to withdraw Interrogatory Nos. 8c, 11c,
12c, 12d, 13d, 14d, 15c, 17b and 18. Relator agrees that with these interrogatories withdrawn,
NAF is now within the 25 interrogatory limit.

Regards, Laina


                                                        5
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 7 of 274 Page ID
Laina M. Herbert | Grant & Eisenhofer P.A. #:2417
Associate
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From: Laina Herbert
Sent: Thursday, August 19, 2021 4:20 PM
To: 'Timothy Ofak' <ofak@thewbkfirm.com>; Mitch Kider <Kider@thewbkfirm.com>; Joel Schiffman
<Schiffman@thewbkfirm.com>; Jeffrey Blackwood <Blackwood@thewbkfirm.com>; Joshua Abel
<Josh@abelattorneys.com>; evan@abelattorneys.com; jrosenthal@mhlawcorp.com
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; Caitlin Moyna <cmoyna@gelaw.com>;
'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Counsel,

Please see the attached letter.

Thanks, Laina

Laina M. Herbert | Grant & Eisenhofer P.A.
Associate
123 S. Justison Street
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Tel: 302.622.7016
Fax: 302.622.7100
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622-7016 and permanently delete the original and any copy of any e-mail and any printout thereof.

From: Timothy Ofak <ofak@thewbkfirm.com>
Sent: Thursday, August 12, 2021 8:05 PM

                                                         6
       Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 8 of 274 Page ID
To: Laina Herbert <lherbert@gelaw.com>; Daniel Berger#:2418
                                                          <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>;
Caitlin Moyna <cmoyna@gelaw.com>
Cc: 'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>; Mitch Kider
<Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Jeffrey Blackwood
<Blackwood@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com
Subject: RE: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and
Objections to NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Counsel:

Attached please find a deficiency letter which addresses Relator Malou Tutanes-Luster’s
supplemental responses to NAF’s Second Set of Interrogatories. Please let us know what days you
are available within the next 10 days to meet and confer about these issues, pursuant to L.R. 37-1. We
propose Wednesday, August 18, at 2:00 pm.

During the call we can also have a follow-up discussion regarding Relator’s objections to NAF’s
Third Set of Interrogatories.

Thank you,

Tim

Timothy P. Ofak
Weiner Brodsky Kider PC
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Washington DC 20036
office: 202 628 2000
direct: 202 557 3517
facsimile: 202 628 2011
ofak@thewbkfirm.com
www.thewbkfirm.com


From: Laina Herbert [mailto:lherbert@gelaw.com]
Sent: Friday, July 9, 2021 3:00 PM
To: Mitch Kider <Kider@thewbkfirm.com>; Joel Schiffman <Schiffman@thewbkfirm.com>; Timothy Ofak
<ofak@thewbkfirm.com>; Jeffrey Blackwood <Blackwood@thewbkfirm.com>; Lindsay Buchanan
<buchanan@thewbkfirm.com>; Joshua Abel <Josh@abelattorneys.com>; evan@abelattorneys.com;
jrosenthal@mhlawcorp.com
Cc: Daniel Berger <dberger@gelaw.com>; Kyle McGee <kmcgee@gelaw.com>; Caitlin Moyna <cmoyna@gelaw.com>;
'bcutter@cutterlaw.com' <bcutter@cutterlaw.com>; 'jparker@cutterlaw.com' <jparker@cutterlaw.com>;
'nthomas@theemploymentattorneys.com' <nthomas@theemploymentattorneys.com>;
'jferris@theemploymentattorneys.com' <jferris@theemploymentattorneys.com>;
'mlingle@theemploymentattorneys.com' <mlingle@theemploymentattorneys.com>
Subject: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Relator's Second Supplemental Responses and Objections to
NAF's Second Set of Interrogatories to Relator, and Verifications [IWOV-LEGAL.FID314664]

Counsel,

                                                           7
      Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 9 of 274 Page ID
Attached are the following documents:  #:2419

   1. Relator’s Second Supplemental Responses and Objections to NAF’s Second Set of
      Interrogatories with Certificate of Service;
   2. Exhibit 1 to Relator’s Second Supplemental Responses and Objections to NAF’s Second
      Set of Interrogatories;
   3. Relator’s Verification to Relator’s First Supplemental Responses and Objections to
      NAF’s Second Set of Interrogatories; and
   4. Relator’s Verification to Relator’s Second Supplemental Responses and Objections to
      NAF’s Second Set of Interrogatories.

Thanks, Laina

Laina M. Herbert | Grant & Eisenhofer P.A.
Associate
123 S. Justison Street
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Tel: 302.622.7016
Fax: 302.622.7100
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                                                         8
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 10 of 274 Page ID
                                  #:2420




                           EXHIBIT 2
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 11 of 274 Page ID
                                  #:2421



 1    Daniel L. Berger (to be admitted pro      J. Nelson Thomas (pro hac vice)
      hac vice)                                 Jonathan W. Ferris (pro hac vice)
 2    Kyle J. McGee (pro hac vice)              Michael J. Lingle (pro hac vice)
      Laina Herbert (pro hac vice)              Annette M. Gifford (270777)
 3    GRANT & EISENHOFER P.A.                   THOMAS & SOLOMON LLP
      123 Justison Street                       693 East Avenue
 4    Wilmington, Delaware 19801                Rochester, New York 14607
      Tel: 302-622-7000                         Tel: 585-272-0540
 5
      C. Brooks Cutter (121407)
 6    John R. Parker, Jr. (257761)
      CUTTER LAW PC
 7    401 Watt Avenue
      Sacramento, California 95864
 8    Tel: 916-290-9400
 9    Attorneys for Plaintiff
10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA, ex
12   rel. MALOU TUTANES-LUSTER,
                                                    Case No. 2:19-cv-01630-PSG-JPR
13                        Plaintiff,
                                                    PLAINTIFF’S FIRST REQUEST
14          v.                                      FOR PRODUCTION OF
                                                    DOCUMENTS TO DEFENDANT
15   BROKER SOLUTIONS, INC. d/b/a
     NEW AMERICAN FUNDING,
16
                          Defendant.
17
18
19
           Plaintiff Malou Tutanes-Luster, by and through her undersigned counsel and
20
     pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, hereby requests
21
     that Defendant Broker Solutions, Inc. d/b/a New American Funding (“NAF”) produce
22
     and permit the undersigned to inspect and copy the documents described herein. The
23
     documents shall be produced at the offices of Cutter Law PC, 401 West Avenue,
24
     Sacramento, CA 95864 within thirty (30) days of service, or at a time and place agreed
25
     to by the parties.
26
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                              Case No. 3:19-cv-01630-PSG-JPR
                                             1
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 12 of 274 Page ID
                                  #:2422



                                          DEFINITIONS
 1
 2         Unless otherwise indicated, capitalized terms have the meaning ascribed to

 3   them in the First Amended Qui Tam Complaint and Demand for a Jury Trial in this

 4   Action.

 5         1.        “Action” means the action currently pending in the United States District

 6   Court for the Central District of California captioned United States of America ex rel.

 7   Malou Tutanes-Luster v. Broker Solutions, Inc. d/b/a New American Funding, Case

 8   No. 2:19-cv-01630-PSG-JPR.

 9         2.        “Document” and “Documents” means “document” and “documents” as
10   those terms are defined and used in Rules 26 and 34 of the Federal Rules of Civil
11   Procedure.
12         3.        “Concerning” means relating to, referring to, describing, evidencing, or
13   constituting.     Requests for documents concerning any subject matter include
14   documents concerning communications regarding that subject matter.
15         4.        “NAF” and the “Company” refer to Defendant Broker Solutions, Inc.
16   d/b/a New American Funding, any of its subsidiaries, divisions or affiliates,
17   predecessors, successors and any present and former officers, directors, employees,
18   agents or members of the Board of Directors of the Company, its attorneys,
19   accountants, advisors and all other persons acting or purporting to act on its behalf.

20         5.        “You,” “your” and “yours” means NAF, those answering these Requests

21   on NAF’s behalf and all other persons purporting to act on NAF’s behalf.

22                                       INSTRUCTIONS

23         The following instruction shall apply to the document requests (“Requests”)
24   contained herein.
25         1.        Responsive electronically stored information (“ESI”) should be produced
26   in single-page Black & White Group IV TIFF images, at least 300 dpi (dots per inch).
27   Spreadsheets and charts should be produced in native format. Documents produced in
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                             Case No. 3:19-cv-01630-PSG-JPR
                                            2
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 13 of 274 Page ID
                                  #:2423



 1   native format should be named according to the unique Bates number and a placeholder
 2   should be produced in TIFF format to facilitate database referencing. Placeholders
 3   should have necessary Bates and confidentiality stamps. Extracted text should be
 4   provided as a document level text file, the filename itself should match its
 5   corresponding TIFF filename. For paper documents, ESI from which text cannot be
 6   extracted or redacted documents, OCR should be provided instead. All productions
 7   should include data and image load files. Data load files should be a Concordance
 8   delimited text file (.dat) using the following delimiters, ¶ (20) = Comma Delimiter, þ
 9   (254) = Quote Delimiter, ® (174) = Newline Delimiter. The first line must contain the
10   column/field names. Every row must have the same number of columns/fields, empty
11   values are acceptable. The image load file should be provided in Ipro (LFP) or Opticon
12   (OPT) format with the relative path to image files. Your production of electronically
13   stored Documents or Communications must include, at a minimum, sufficient metadata
14   to convey where items begin and end (including attachments), the original file name
15   and location, and the original timestamps and attributes, including but not limited to,
16   the following metadata fields: “BEGBATES,” “ENDBATES,” “BEGATTACH,”
17   “ENDATTACH, “to,” “from,” “cc,” “bcc,” “subject,” “custodian,” “date and time
18   sent,” “date and time received,” “creation date and time,” “date last modified,”
19   “document type”, “author”, “original file location”, “native file path,” and
20   “MD5HASH.” Timestamp metadata should reflect the time of the time zone of the
21   custodian from whom the Document or Communication was collected. In the event
22   Plaintiff agrees that search terms may be used to collect any portion of the Documents
23   or Communications, You must run an OCR protocol before searching and collecting
24   from any location containing Documents or Communications without renderable text
25   that may not be text-searchable (e.g., non-OCR’ed PDF files).
26
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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                                 RELEVANT TIME PERIOD
 1
 2         Unless otherwise specified, all requests herein refer to the period of January 1,

 3   2011 to the present (the “Relevant Time Period”) and include all Documents and

 4   information related to that period, even though prepared or published outside of that

 5   period.

 6
 7                                DOCUMENT REQUESTS
 8   REQUEST NO. 1:           All certifications You made to the FHA to participate in the
 9   DE Program, including Your: (a) initial certifications; (b) annual certifications; and
10
     (c) each separate certification submitted to the Government for each individual loan
11
12   that You endorsed for Government insurance (“loan-level certifications”).
13   REQUEST NO. 2:           All certifications You made to the VA in order to participate
14
     in the VA Program, including Your: (a) initial certifications, including but not limited
15
16   to Your Form 26-8736; (b) annual certifications; and (c) loan-level certifications,
17   including but not limited to Your VA Forms 26-1820.
18
     REQUEST NO. 3:           All Communications concerning any certifications you made
19
20   to the FHA and/or the VA in order to participate in the Government Programs,
21
     including Your: (a) initial certifications; (b) annual certifications; and (c) loan-level
22
     certifications
23
24   REQUEST NO. 4:           All Communications with the FHA concerning the DE
25
     Program.
26
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 5:          All Communications with the VA concerning the VA
 1
 2   Program.
 3
     REQUEST NO. 6:          Your complete underwriting files for all loans submitted to
 4
     the FHA under the DE Program.
 5
 6   REQUEST NO. 7:          Your complete underwriting files for all loans submitted to
 7
     the VA under the VA Program.
 8
     REQUEST NO. 8:          All Government loan files reviewed by Plaintiff that were
 9
10   endorsed to the Government.
11
     REQUEST NO. 9:          Data sufficient to show and identify every Government loan
12
13   that You submitted to the FHA and/or the VA that defaulted.

14   REQUEST NO. 10:         All Communications concerning any Government loan that
15
     You submitted to the FHA and/or the VA that defaulted.
16
17   REQUEST NO. 11:         All claims or requests for payment made to the Government

18   on any loan originated by NAF under the Government Programs, whether made by
19
     You or by any third-party that subsequently acquired the loan after You sold it, as a
20
21   result of defaulted FHA loans or VA loans that You originated and endorsed.

22   REQUEST NO. 12:         Documents reflecting all payments You received from the
23
     FHA.
24
25   REQUEST NO. 13:         Documents reflecting all payments You received from the

26   VA.
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 14:           All Documents concerning each and every loan You sold after
 1
 2   origination, including but not limited to any Documents reflecting or memorializing
 3
     the transfer or sale of any interest in such loans.
 4
     REQUEST NO. 15:           Documents reflecting each and every loan You endorsed
 5
 6   under the Government Programs that has defaulted resulting in claims made on the
 7
     Government.
 8
     REQUEST NO. 16:           Documents reflecting the total number of claims made on the
 9
10   Government as a result of loans NAF endorsed under the Government Programs
11
     defaulting.
12
13   REQUEST NO. 17:           All training materials created or used by You to train

14   employees in the areas of underwriting, origination, endorsement, and quality control
15
     of loans originated under the Government Programs, regardless of whether such
16
17   employees held positions in underwriting, origination, endorsement, or quality control,

18   or other functions, within NAF.
19
     A.    COMMISSION-BASED COMPENSATION POLICY.
20
21   REQUEST NO. 18:           All Documents concerning or discussing any commission-

22   based compensation policies and/or practices, including but not limited Documents
23
     concerning and/or discussing the amounts of any bonuses or other compensation You
24
25   paid to any employee in connection with the quantity of loan files approved for

26   submission or endorsement to the Government.
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 19:           All Documents concerning commissions or bonuses or other
 1
 2   compensation paid to NAF employees performing underwriting functions in
 3
     connection with Government loans (regardless of whether such employees were
 4
     employed as underwriters), including but not limited to: (a) the complete underwriting
 5
 6   files for which the commission(s) and/or bonus(es) were paid; (b) Documents
 7
     identifying: (i) each employee performing underwriting services to whom You paid
 8
     commission(s) and/or bonus(es); and (ii) the amount(s) of such commission(s) and/or
 9
10   bonus(es) paid.
11
     B.    MANAGEMENT EXCEPTION POLICY.
12
13   REQUEST NO. 20:           All Documents concerning or discussing Your management

14   exception and/or management override policies and/or practices, as alleged in
15
     Paragraphs 22(b), 237, 234-217 of the Amended Complaint.
16
17   REQUEST NO. 21:           All Documents discussing the circumstances under which

18   NAF management would permit loans to be endorsed even if they did not meet the
19
     Government Programs’ requirements.
20
21   REQUEST NO. 22:           All Documents discussing NAF employees (including

22   management        employees)   overriding   adverse   underwriting   decisions and/or
23
     unfavorable credit decisions on Government loans that did not meet the Government
24
25   Programs’ requirements.

26
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 23:           Documents sufficient to show and identify each and every
 1
 2   Government loan that NAF employees (including management employees) approved
 3
     that did not meet the Government Programs’ requirements.
 4
     REQUEST NO. 24:           Documents concerning or discussing lists publicizing the
 5
 6   number of loan files Processing Managers and/or their employees approved each
 7
     month.
 8
     REQUEST NO. 25:           All Documents concerning Government loan files that did not
 9
10   meet the Government Programs’ requirement that You endorsed to the Government
11
     through the management override process, including the underlying loan files.
12
13   REQUEST NO. 26:           All Documents concerning or discussing Your employees’

14   attempts to avoid initial rejections by underwriting and subsequent appeals by loan
15
     officers of non-qualifying loan files.
16
17   REQUEST NO. 27:           All Documents concerning or discussing the approval of loan

18   files that did not meet the Government Programs’ underwriting guidelines or the
19
     Government Programs’ requirements.
20
21   REQUEST NO. 28:           All performance reviews for: (a) Loan Officer Managers and

22   (b) Processing Managers, including Kevin English and Michael Garcia.
23
     C.    VALUE APPEALS
24
25   REQUEST NO. 29:           All Documents concerning Your internal property appraisal

26   policies.
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 30:          All Documents concerning or referring to NAF or its
 1
 2   employees taking any steps to increase or modify the appraised value of properties,
 3
     including by making “value appeals” to appraisers or interfering in any way with the
 4
     work of appraisers, and the corresponding appraisals.
 5
 6   REQUEST NO. 31:          All Documents concerning NAF loan officers and/or their
 7
     assistants’ communications with appraisers (or the employer(s) of such appraisers)
 8
     who were performing the appraisals necessary for Government loans.
 9
10   REQUEST NO. 32:          All Documents concerning actual or potential commissions,
11
     bonuses, or other compensation paid or made available to loan officers in connection
12
13   with appraisal values obtained.

14   REQUEST NO. 33:          All Documents concerning loan officers physically attending
15
     appraisals or otherwise being present at the property at the same time as the appraiser,
16
17   and the corresponding appraisals.

18   REQUEST NO. 34:          All Documents concerning loan officers: (a) selecting
19
     appraisers; (b) commenting on appraiser’s appraisals; and/or (c) criticizing appraisers
20
21   and/or the outcome of appraisals.

22   REQUEST NO. 35:          All Documents concerning and/or reflecting comments
23
     recorded on NAF’s appraisal vendor’s website concerning appraisals and/or appraisers.
24
25   REQUEST NO. 36:          All Documents concerning and/or reflecting NAF personnel

26   contacting appraisers (or their employer(s)) concerning the value of an appraisal.
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 37:              All Documents concerning NAF loan officers using, or
 1
 2   seeking to use, appraisers who would value the property at the levels the loan officers
 3
     set for the value appeals.
 4
     D.  MANIPULATING VARIABLES IN THE AUS/TOTAL SYSTEM TO
 5
     ENDORSE FHA LOANS FOR UNQUALIFIED BUYERS.
 6
     REQUEST NO. 38:              All Documents concerning Your policies and/or practices
 7
 8   concerning the use of borrower data in the AUS/TOTAL system.
 9   REQUEST NO. 39:              All Documents concerning or discussing Your employees’
10
     practices of modifying or manipulating variables in the AUS/TOTAL system after
11
12   receiving a “refer/caution” rating to identify the variable(s) that would result in an
13   “accept/approve” rating, as alleged in Paragraphs 22(d), 206(d), 347-365 of the
14
     Amended Complaint.
15
16   REQUEST NO. 40:              All Documents concerning or discussing Your employees’
17   practices of reverse engineering loan approvals by modifying or manipulating the
18
     variable(s) in the AUS/TOTAL system after receiving a “refer/caution” rating to
19
20   identify the variable(s) that would result in an “accept/approve” rating, as alleged in
21   Paragraphs 361-363 of the Amended Complaint.
22
     REQUEST NO. 41:              Internal File No. 120016109350, and all documents
23
24   concerning or discussing this file.
25
26
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     E.     INFLATING BORROWER INCOME.
 1
 2   REQUEST NO. 42:         All Documents concerning Your policies and practices
 3
     concerning calculating a borrower’s income, bonuses and overtime earnings.
 4
     REQUEST NO. 43:         All Documents concerning or referring to NAF employees
 5
 6   (including management employees) modifying or manipulating borrowers’ overtime
 7
     and/or bonus income figures to increase the likelihood of loan approval, including but
 8
     not limited to: (a) using the borrower’s present earnings as his/her “historical”
 9
10   earnings; (b) extrapolating the borrower’s income for the following two years based on
11
     his/her current earnings, and all related loan files; (c) not properly averaging a
12
13   borrower’s bonus and overtime earnings over the required regulatory time period;

14   (d) using the historical earnings, overtime, and year-end bonuses of tomato pickers in
15
     California; (e) using one-time bonuses as part of the borrower’s earnings; and/or (f)
16
17   using bonuses that had not yet been earned as part of the borrower’s income, and the

18   related loan files.
19
     REQUEST NO. 44:         All Documents concerning using the borrower’s “rolling 24
20
21   months” income, as alleged in the Amended Complaint, and the related loan files.

22   F.     MINIMIZING BORROWER DEBT.
23
     REQUEST NO. 45:         Your policies and practices concerning the calculation of
24
25   borrowers’ total debt-to income ratio and borrowers’ payment-to-income ratio.

26
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 46:           Internal File 137316088706, and all documents concerning or
 1
 2   discussing this file.
 3
     REQUEST NO. 47:           All Documents concerning NAF employees (including
 4
     management employees) waiving borrowers’ debt obligations that were required to be
 5
 6   calculated in the debt-to-income ratios for Government loans.
 7
     REQUEST NO. 48:           All Documents concerning NAF employees (including
 8
     management employees) excluding known debts from borrowers’ debt-to-income
 9
10   analyses.
11
     REQUEST NO. 49:           All Documents concerning or relating to borrowers’ debt
12
13   obligations that You waived when calculating debt-to-income ratios for Government

14   loans, including but not limited to soft credit reports and/or documents reflecting
15
     borrowers’ total monthly debt obligations.
16
17   REQUEST NO. 50:           All Documents concerning debts You excluded from the

18   calculation of the debt-to-income ratio on the basis that such debts were considered
19
     excludable contingent liabilities.
20
21   REQUEST NO. 51:           FHA Loan No. 198-05858356-703, and all documents

22   concerning or discussing this file.
23
     REQUEST NO. 52:           FHA File No. 1198-0870544-734, and all documents
24
25   concerning or discussing this file.

26
27
28     PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     G.    QUALITY CONTROL DEFICIENCIES.
 1
 2   REQUEST NO. 53:          All Documents reflecting Your audit findings.
 3
     REQUEST NO. 54:          All Documents reflecting Your quality control mechanisms,
 4
     processes, audits, practices and programs.
 5
 6   REQUEST NO. 55:          All Documents concerning or referring to NAF employees
 7
     (including management employees) implementing a policy of withholding from the
 8
     Government known underwriting deficiencies, inaccuracies, and errors in completed
 9
10   loan files subsequently discovered by Your quality control auditors.
11
     REQUEST NO. 56:          All Documents concerning fraud and/or other underwriting
12
13   deficiencies identified by Your quality control auditors, which were ignored by NAF.

14   REQUEST NO. 57:          All   Documents     concerning   and/or   discussing   NAF:
15
     (a) ignoring audit results and/or findings; (b) acting as if Government loans did not
16
17   have any deficiencies and/or (c) ignoring fraud and/or deficiencies You found in Your

18   underwriting of Government loans.
19
     REQUEST NO. 58:          All Documents concerning or discussing the consent
20
21   judgments and/or stipulations of settlement with Government Lenders accused of

22   violating critical underwriting criteria required by the HUD-FHA and/or the VA,
23
     including but not limited to: (a) Bank of America Corp., J.P. Morgan Chase & Co.,
24
25   Wells Fargo & Co., Citigroup Inc., and Ally Financial, Inc., on or around March 12,

26   2012; (b) General Electric, on or around April 12, 2019; (c) Wells Fargo Bank, N.A.,
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     on or around April 8, 2016; (d) SunTrust Mortgage, Inc., on or around September 30,
 1
 2   2014; (e) J.P. Morgan Chase Bank, N.A., on or around February 5, 2014; (f) Allquest
 3
     Home Mortgage Corp., on or around September 29, 2017; (g) Flagstar Bank, F.S.B.,
 4
     on or around February 24, 2012; (h) M&T Bank, on or around May 9, 2016; (i) Finance
 5
 6   of America Mortgage LLC, on or around December 11, 2018; and (j) TXL Mortgage
 7
     Corp., on or around September 20, 2016.
 8
     REQUEST NO. 59:          All of Your annual and quarterly reports, financial reports,
 9
10   financial reports, and financial statements (audited and unaudited), including balance
11
     sheets, income statements, cash-flow statements, monthly reports and management
12
13   reports and any analysis by You of any such financial statements.

14   REQUEST NO. 60:          Any Documents provided to actual or prospective investors,
15
     including but not limited to materials distributed during roadshows, and/or private
16
17   placement memorandum and/or private equity memorandum.

18   REQUEST NO. 61:          All Documents concerning any insurance policy obtained for
19
     the benefit of NAF (or its officers or directors), which may provide full or partial
20
21   coverage for any of the claims asserted in this Action.

22   REQUEST NO. 62:          Your Document retention policy.
23
     REQUEST NO. 63:          All Documents concerning or referring to communications
24
25   with any federal or state government entity or agent concerning Your compliance or

26   lack thereof with HUD-FHA and/or VA regulations.
27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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     REQUEST NO. 64:           All Documents provided to any expert in connection with this
 1
 2   Action.
 3
     REQUEST NO. 65:           All documents You identified or referred to in Your responses
 4
     to Plaintiff’s First Set of Interrogatories to Defendant.
 5
 6   REQUEST NO. 66:           All Documents You intend to introduce at trial or any hearing
 7
     in this Action.
 8
     REQUEST NO. 67:           All Documents You intend to rely upon in proving any
 9
10   affirmative defense in Your Answer to the Amended Complaint in this Action filed on
11
     July 22, 2019.
12
13   REQUEST NO. 68:           Organizational charts of NAF showing all employees in Your

14   underwriting, origination, endorsement and quality control departments, as well as
15
     their respective reports and supervisors.
16
17
18
           Dated: July 24, 2019
19
20                                                 GRANT & EISENHOFER P.A.
21
                                                     /s/ Laina M. Herbert
22                                                 Daniel L. Berger (to be admitted pro hac vice)
                                                   Kyle J. McGee (pro hac vice)
23                                                 Laina M. Herbert (pro hac vice)
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24                                                 Wilmington, DE 19801
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25                                                 Emails: dberger@gelaw.com
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28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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 1                             CERTIFICATE OF SERVICE
 2         I, Laina M. Herbert, hereby certify that on this 24th day of July 2019, a true
 3   and correct copy of Plaintiff’s First Request for Production of Documents to
 4   Defendant was emailed to counsel of record for defendant at the email addresses
 5   below.
 6
                                  Michael H. Kider, Esquire
 7                                Joel A. Schiffman, Esquire
                                   Timothy P. Ofak, Esquire
 8                              Lindsay L. Buchanan, Esquire
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16
                                                    /s/ Laina M. Herbert
17                                                  Laina M. Herbert
18
19
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22
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27
28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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                           EXHIBIT 3
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Archived: Monday, September 20, 2021 11:14:48 PM
From: Lindsay Buchanan
Mail received time: Fri, 5 Feb 2021 22:03:25
Sent: Sat, 6 Feb 2021 03:02:56
To: Kyle McGee Caitlin Moyna Laina Herbert
Cc: Daniel Berger 'bcutter@cutterlaw.com' 'jparker@cutterlaw.com' 'nthomas@theemploymentattorneys.com'
'jferris@theemploymentattorneys.com' 'mlingle@theemploymentattorneys.com' 'agifford@theemploymentattorneys.com' Mitch
Kider Timothy Ofak Joel Schiffman Jeffrey Blackwood Joshua Abel evan@abelattorneys.com
Subject: US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Email Production
Importance: Normal
Sensitivity: None
Attachments:
20210205_Ltr to Johnson re Production of Emails and Attachments.pdf;




Kyle, Caitlin, and Laina --

Today, NAF is producing an external hard drive containing responsive emails and email attachments for the agreed-upon
custodians and search terms. The drive was sent to the attention of Stephanie Johnson at the Grant & Eisenhofer Delaware office
via Federal Express. It should arrive on Monday morning.

The password to access the hard drive

Attached, you will find a copy of our cover letter regarding this production. Please advise if you have any issues with accessing
this production.

Regards,

Lindsay Buchanan

Associate

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This elect ronic message contains information from the law firm of Weiner Brodsky Kider PC, which may be confidential or privileged. The information is intended to
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anot her party any transact ion or matter addressed herein.
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                           EXHIBIT 4
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 34 of 274 Page ID
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                           EXHIBIT 5
   Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 37 of 274 Page ID
                                     #:2447




       August 19, 2021

       VIA EMAIL
       Kyle J. McGee
       Caitlin Moyna
       Laina M. Herbert
       Grant & Eisenhofer P.A.
       123 Justison Street
       Wilmington, Delaware, 19801

       RE:     United States ex rel. Malou Tutanes-Luster v. Broker Solutions, Inc., d/b/a New American
               Funding, No. 2-19-cv-01630-PSG-JPR

       Kyle, Caitlin, and Laina:

       Today, NAF is providing Relator’s personnel file at the secure link below. The personnel
       file is bates-labeled NAF_QUI TAM_0011191018 - NAF_QUI TAM_0011191922, and all
       documents have been marked “CONFIDENTIAL.”

       The zip file containing the personnel file can be downloaded from the following link:




       The password you will need to access the SFTP site and .zip file will be sent via separate
       email.

       Sincerely,

       /s/ Jeffrey P. Blackwood
       Jeffrey P. Blackwood

       Enclosure



1300 19th Street NW 5th Floor Washington, DC 20036 office: 202 628 2000 facsimile: 202 628 2011 www.thewbkfirm.com

                       Washington DC                  Dallas TX                   Irvine CA
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                           EXHIBIT 6
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 Timothy P. Ofak, Esq.
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 Page 2




 Cal. Sept. 8, 2021) (“Academy”) (granting six-month continuance, where without
 production of the loan files in a usable format, relator’s counsel could not prepare to
 depose the defendant’s underwriters nor complete her own underwriting review),
 attached as Ex. 1; United States v. Quicken Loans, Inc., No. 16-cv-14050-MAG,
 Dkt. 127, Order at 2-3 (E.D. Mich. July 13, 2018) (“Quicken”) (direct access to a
 lender’s LOS in False Claims Act litigation concerning fraudulent FHA
 underwriting after lender failed to produce information in reasonably usable form),
 attached as Ex. 2

        Second, as I indicated in my September 2, 2021 letter, we have concluded we
 need to review complete loan files for all FHA and VA loans involving a claim that
 was made on the Government after November 29, 2019. During our September 10,
 2021 meet and confer, we agreed to identify the FHA loans for which claims had
 been made on the Government between November 29, 2019 and the updated HUD
 data provided to the parties, which we do in Exhibit 3, attached. Relator thus
 requests the complete loan files for the 162 additional loans identified in this
 exhibit.2 Here again, if the parties are unable to resolve this issue, motion practice
 might be required, which will take additional time, and even if the parties resolve
 this issue, NAF will require time to gather and produce these files, and Relator’s
 counsel and her expert will need time to review them.

        Third, as of January 13, 2021, NAF had produced a total of 18,412 documents
 (2,003,769 pages). On February 5, 2021, NAF finally made its first production of
 electronically-stored information (“ESI”), and produced 1,498,542 documents
 (7,332,618 pages). On March 31, 2021, NAF produced 5,297 documents (121,325
 pages) and declared that its production was complete. Nevertheless, in the months
 that followed, NAF produced an additional 8,089 documents (93,068 pages). On
 August 19, 2021, a week before Relator’s deposition, NAF made its most recent
 production and produced Relator’s personnel file. To date, NAF has produced a
 2
   We will provide you with the same analysis for the VA loans when we receive
 updated Claim Summaries from VA. To the extent NAF is unable to produce the
 complete streamline loan files, complete IRRRL files, or the complete loan files
 listed in Exhibit 3 because NAF does not have the complete loan files requested, we
 again request that NAF state as such, with reference to the specific HUD Case
 Number and corresponding NAF loan number.
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 total of 1,665,764 documents (11,191,139 pages). Relator’s counsel continues to
 diligently review these documents, and while we are using TAR to attempt to narrow
 these documents down to a more manageable number, we have found that several
 layers of TAR review is required to ensure an adequate review that will allow us to
 prepare for depositions.
        Fourth, as highlighted in my letter dated August 30, 2021, and discussed
 extensively during our meet and confer on September 9, NAF’s privilege logs—
 which contain approximately 5,731 entries—are deficient. While the parties
 continue to meet and confer to resolve these deficiencies, NAF has indicated that it
 will take NAF quite a bit of time to update its logs and produce any documents it
 decides to downgrade from its privilege log and produce.
        Fifth, it is going to take Relator and her counsel a substantial amount of time
 to more completely respond to NAF’s contention interrogatories because they
 involve assembling all of the information produced by NAF, which cannot be done
 until NAF completes its production of the complete loan files, and Relator and her
 counsel complete their review of this information.

        In sum, the following needs to be done before we can conclude discovery:
 (i) parties need to engage in motion practice, which the Court will have to resolve;
 (ii) NAF will need to collect and produce any additional documents it is required to
 produce; and (iii) Relator will need to review and analyze these documents before
 depositions can proceed. Rather than pursue a short extension, which might prove
 again to be insufficient, we propose a 6-month extension to the discovery schedule
 until April 12, 2022. As noted in my September 10 email, the currently scheduled
 depositions should be adjourned, and it would be Relator’s intention to reschedule
 them in the first quarter of 2022. Further, to ensure Relator has the time to review
 any newly produced documents, we propose an interim deadline that NAF
 substantially complete any new production by December 13, 2021, and depositions
 conclude by April 12, 2022. We recognize that there is likely some inconvenience
 in having to reschedule these depositions, but this minor inconvenience is
 substantially outweighed by the efficiencies gained, including ensuring depositions
 can be concluded rather than left open due to incomplete document productions, and
 by the avoidance of prejudice that would otherwise be suffered by Relator.
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        We request that you provide NAF’s position to our request for a modification
 of the schedule by no later than Thursday, September 16, 2021, so that we might
 have enough time to approach the Court before the currently scheduled depositions.
 We are available to discuss at your convenience.


                                             Very truly yours,

                                                  /s/ Laina M. Herbert

                                             Laina M. Herbert

  cc:   Daniel L. Berger, Esq. (via e-mail)
        Kyle J. McGee, Esq. (via e-mail)
        Caitlin Moyna, Esq. (via e-mail)
        Mitchel H. Kider, Esq. (via e-mail)
        Jeffrey P. Blackwood, Esq. (via e-mail)
        Joshua A. Rosenthal, Esq. (via e-mail)
        Joel A. Schiffman, Esq. (via e-mail)
        J. Nelson Thomas, Esq. (via e-mail)
        Jonathan W. Ferris, Esq. (via e-mail)
        Michael J. Lingle, Esq. (via e-mail)
        C. Brooks Cutter, Esq. (via e-mail)
        John R. Parker, Jr., Esq. (via e-mail)
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                               Exhibit 1
                                  Case 2:19-cv-01630-PSG-JPR  Document
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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7      UNITED STATES OF AMERICA, et al.,                 Case No. 16-cv-02120-EMC
                                   8                     Plaintiffs,
                                                                                            ORDER DENYING DEFENDANT’S
                                   9              v.                                        MOTION FOR RELIEF FROM NON-
                                                                                            DISPOSITIVE PRETRIAL ORDER OF
                                  10      ACADEMY MORTGAGE                                  MAGISTRATE JUDGE, AND
                                          CORPORATIONN,                                     GRANTING RELATOR’S
                                  11                                                        ADMINISTRATIVE MOTION FOR
                                                         Defendant.                         RELIEF FROM AMENDED CASE
                                  12                                                        MANAGEMENT AND PRETRIAL
Northern District of California
 United States District Court




                                                                                            ORDER
                                  13
                                                                                            Docket Nos. 257, 263
                                  14

                                  15

                                  16                                        I.     INTRODUCTION
                                  17           In this qui tam False Claims Act suit, Gwen Thrower (“Relator”) alleges that Academy
                                  18    Mortgage Corporation (“Defendant”) falsely certified compliance with the U.S. Department of
                                  19    Housing and Urban Development’s (HUD’s) regulations, enabling it to obtain government
                                  20    insurance on the mortgage loans underwritten by Defendant, and to make claims on those loans.
                                  21           Pending before the Court are (1) Defendant’s motion for relief from Magistrate Judge
                                  22    Sallie Kim’s August 6, 2021 order requiring Defendant to produce loan files in a data file that can
                                  23    be loaded into Encompass or IHM, see Docket Nos. 255 (“Order”); 257 (“Mot. 1”); and (2)
                                  24    Relator’s motion for administrative relief from this Court’s amended case management and
                                  25    pretrial order, see Docket Nos. 180 (“Am. CMC Order”), 263 (“Mot. 2”).
                                  26           For the following reasons, this Court DENIES Defendant’s motion and GRANTS
                                  27    Relator’s administrative motion.
                                  28
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                                   1                      II.      DEFENDANT’S MOTION FOR RELIEF FROM

                                   2               NON-DISPOSITIVE PRETRIAL ORDER OF MAGISTRATE JUDGE

                                   3    A.     Background

                                   4           On February 18, 2021, the parties filed a joint discovery letter brief detailing their dispute

                                   5    as to whether Defendant’s production of loan files in a static, single PDF meets the requirements

                                   6    of Federal Rule of Civil Procedure 34 (b)(2)(E)(ii). See Docket No. 209 (“Letter Brief 1”). For

                                   7    each loan file, Defendant produced a single PDF averaging nearly 1,600 pages without slips or

                                   8    bookmarks to separate the different documents. Id. at 2. Each PDF includes several loan

                                   9    documents, such as the borrower’s paystubs, tax documents, credit reports, bank statements, and

                                  10    more. Id. On February 23, 2021, Judge Kim entered an Order allowing Relator to depose Ms.

                                  11    Kaya Chavez, Defendant’s corporate representative with knowledge on how Defendant keeps the

                                  12    loan files at issue. See Docket No. 210 (“February 23 Order”). On April 14, 2021, Relator
Northern District of California
 United States District Court




                                  13    deposed Ms. Kaya Chavez. See Docket No. 246 (“Bexley Decl.”), Ex. A.

                                  14           On July 2, 2021, the parties filed another joint discovery letter brief detailing their dispute

                                  15    as to whether Defendant’s production of loan files in static, single PDFs meets the requirements of

                                  16    Rule 34 and complies with Judge Kim’s February 23 Order. See Docket No. 245 (“Letter Brief

                                  17    2”). Shortly after, on July 7, Judge Kim granted Relator’s request and ordered “Defendant to

                                  18    produce the loan files in their entirety in native format.” See Docket No. 249 (“July 7 Order”).

                                  19           On August 2, 2021, the parties filed a third joint discovery letter brief regarding

                                  20    Defendant’s non-compliance with the July 7 Order, whereby Relator requested attorneys’ fees and

                                  21    costs under Federal Rule of Civil Procedure 37. See Docket No. 253 (“Letter Brief 3”) at 4. On

                                  22    August 6, 2021, Judge Kim again ordered Defendant to produce the documents in native format

                                  23    on or before August 21, 2021, by either (1) giving Relator access to Defendant’s Encompass and

                                  24    IHM systems, or (2) as a data file that can be loaded onto Relator’s operating versions of

                                  25    Encompass and IHM. See Order at 3. Judge Kim also ordered that monetary sanctions were

                                  26    appropriate and instructed Relator to submit a declaration indicating the amount of attorneys’ fees

                                  27    sought on or before September 3, 2021. Id. Shortly thereafter, Defendant filed the instant motion

                                  28    seeking relief from Judge Kim’s August 6 Order. Mot. 1.
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                                   1    B.     Standard of Review

                                   2           Pursuant to 28 U.S.C. § 636 (b)(1)(A), a district court may “designate a magistrate judge to

                                   3    hear and determine any pretrial matter pending before the court.” Federal Rule of Civil Procedure

                                   4    72(a) allows a party to file objections to the order. A district court considering objections to a

                                   5    non-dispositive pretrial order must “modify or set aside any part of the order that is clear

                                   6    erroneous or is contrary to law.” See 28 U.S.C. § 636 (b)(1)(A) (“A judge of the court may

                                   7    reconsider any pretrial matter under this subparagraph (A) where it has been shown that the

                                   8    magistrate judge’s order is clearly erroneous or contrary to law.”); Osband v. Woodford, 290 F.3d

                                   9    1036, 1041 (9th Cir. 2022) (“A district judge may reconsider a magistrate’s order in a pretrial

                                  10    matter if that order is ‘clearly erroneous or contrary to law.’” (quoting 28 U.S.C. § 636 (b)(1)(A));

                                  11    see also, Grimes v. City & Cnty. Of San Francisco, 951, F.2d 236, 241 (9th Cir. 1991) (holding

                                  12    that under the clearly erroneous standard, “[t]he reviewing court may not simply substitute its
Northern District of California
 United States District Court




                                  13    judgment for that of the deciding court” (citing United States v. BNS, Inc., 858 F.2d 456. 464 (9th

                                  14    Cir. 1988))).

                                  15    C.     Discussion

                                  16           Judge Kim ordered Defendant to produce the documents at issue in native format either by

                                  17    providing Relator access to Defendant’s Encompass and IHM systems, or as a data file that can be

                                  18    loaded onto Relator’s operating versions of Encompass and IHM. See Order at 3. Defendant

                                  19    contends that it can only produce these documents as PDFs. See Mot. 1 at 2-3. The question is

                                  20    whether Judge Kim’s August 6 Order is clearly erroneous or contrary to law because Defendant’s

                                  21    production of a single, static PDF for each loan file satisfies its discovery obligations under the

                                  22    Federal Rules.

                                  23           First, Defendant contends it complied with the July 7 Order because a single, static PDF is

                                  24    the only native format that exists for the files at issue. Id. at 2. Relator submitted publicly

                                  25    available information indicating the “data files” Judge Kim ordered Defendant to produce do

                                  26    indeed exist. See Docket No. 261 (“Relator’s Response”) at 4-5. In fact, Encompass users

                                  27    routinely export loan file data in the course of their business. Id. In any case, even if the

                                  28    Encompass data files do not exist, Defendant should have complied with Judge Kim’s July 7
                                                                                           3
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                                   1    Order by giving Relator direct access to Encompass and IHM. See July 7 Order; Order at 3.

                                   2           Second, Defendant contends giving Relator direct access to its Encompass and IHM

                                   3    systems is unwarranted. See Mot. 1 at 5. But Defendant’s own corporate representative, Ms.

                                   4    Chavez, admitted that providing Relator access to Defendant’s Encompass or IHM systems is a

                                   5    viable option. See Bexley Decl., Ex. A at 156:14–21, 186:20–187:11.

                                   6           Lastly, Defendant contends it produced all the loan documents. See Mot. 1 at 4. Relator

                                   7    challenges this characterization by pointing out that the single, static PDF Defendant produced for

                                   8    each loan file omits “conversation logs, audit trails, and certain underwriting documents” that are

                                   9    only available on Encompass. See Relator’s Response at 4. Ms. Chavez’s testimony confirms that

                                  10    Defendant’s PDF production only contains documents in an Encompass “eFolder,” which includes

                                  11    most, but not all, loan file documents. See Bexley Decl., Ex. A at 148:7–151:3. Relator is entitled

                                  12    to review the entire loan documents to determine whether each loan file contains the FHA-
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                                  13    required information and whether each loan is eligible for FHA insurance. See Letter Brief 1 at 2.

                                  14    Defendant’s production was therefore incomplete.

                                  15           Accordingly, Defendant’s motion for relief from Judge Kim’s August 6 non-dispositive

                                  16    pretrial order is DENIED because the order is neither clearly erroneous nor contrary to law.

                                  17    Moreover, for the same reasons, Judge Kim’s order of monetary sanctions was proper.

                                  18    III.      RELATOR’S ADMINISTRATIVE MOTION FOR RELIEF FROM AMENDED

                                  19                          CASE MANAGEMENT AND PRETRIAL ORDER

                                  20           Relator asks this Court for a six-month continuance of the trial setting and all pretrial

                                  21    deadlines to complete discovery, including completing an underwriter review and deposing

                                  22    Defendant’s underwriters. See Mot. 2 at 4. Despite several meet and confer efforts, Defendant

                                  23    will only agree to a two-month continuance. Id. at 1-2. Trial courts have broad discretion to

                                  24    manage their dockets and can modify their case management orders upon a showing of “good

                                  25    cause,” which considers the moving party’s diligence and any prejudice that will result to the non-

                                  26    moving party. Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607, 609 (9th Cir. 1992).

                                  27    Because Defendant does not argue that it will be prejudiced by a six-month delay, the only

                                  28    question is whether there is good cause for it.
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                                   1             Relator has established there is good cause for a continuance because it has been diligent in

                                   2    pursuing discovery. Relator served written discovery requests, conferred with Defendant, and

                                   3    filed multiple joint discovery letter briefs to resolve the disputes. Defendant’s noncompliance

                                   4    with the Federal Rules and with Judge Kim’s multiple orders has obstructed discovery,

                                   5    specifically the production of the full loan files, causing delay. Without production of the loan

                                   6    files in a usable format, Relator’s counsel cannot prepare to depose Defendant’s underwriters, nor

                                   7    can they complete their own underwriting review. See Mot. 2 at 4. It is Defendant’s

                                   8    noncompliance, not Relator’s lack of diligence, that has made it impossible for Relator to

                                   9    complete non-expert discovery by the current deadline of September 23, 2021. See July 7 Order;

                                  10    Order. Given the sheer volume of documents to be produced and the time it takes to review those

                                  11    documents, a six-month continuance is appropriate.

                                  12             Accordingly, the Court GRANTS Relator’s administrative motion for a six-month
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 United States District Court




                                  13    continuance of the trial setting and all pretrial deadlines, as follows:

                                  14
                                         Trial                                               9/26/2022
                                  15
                                         Pretrial Conference                                 8/30/2022
                                  16
                                         Objections                                          8/16/2022
                                  17
                                         Joint pretrial statement                            8/9/2022
                                  18
                                         Meet and Confer                                     7/19/2022
                                  19
                                         Last Day to Hear Dispositive Motions                6/16/2022
                                  20
                                         Last Day to File Dispositive Motions                5/12/2022
                                  21
                                         Expert Discovery Close                              5/5/2022
                                  22
                                         Rebuttal Expert Disclosure                          4/14/2022
                                  23
                                         Expert Disclosure / Non-expert Discovery            3/24/2022
                                  24

                                  25

                                  26                                         IV.       CONCLUSION

                                  27             For the foregoing reasons, the Court DENIES Defendant’s motion for relief from

                                  28    Magistrate Judge Kim’s August 6 non-dispositive order and GRANTS Relator’s administrative

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                                   1    motion for a six month-continuance of trial and pre-trial deadlines. Defendant shall comply with

                                   2    Judge Kim’s order by September 24, 2021. Relator shall submit to Judge Kim its attorneys’ fees

                                   3    declaration by September 27, 2021. Defendant’s challenge thereto as to amount shall be filed by

                                   4    October 7, 2021.

                                   5           This order disposes of Docket Nos. 257 and 263.

                                   6

                                   7           IT IS SO ORDERED.

                                   8
                                   9    Dated: September 8, 2021

                                  10

                                  11                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  12                                                    United States District Judge
Northern District of California
 United States District Court




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                               Exhibit 2
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                             Case No. 16-cv-14050
 v.
                                                             HON. MARK A. GOLDSMITH
 QUICKEN LOANS, INC.,

             Defendant.
 _____________________________________/

       ORDER REGARDING (1) QUICKEN’S MOTION TO COMPEL (Dkt. 93), (2)
         QUICKEN’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
       IMPROPERLY WITHHELD AS PRIVILEGED (Dkts. 102, 104), AND (3) THE
              GOVERNMENT’S MOTION TO COMPEL (Dkts. 91, 92)

        In its June 5, 2018 Order (Dkt. 106), the Court addressed issues raised in two discovery

 motions: Defendant Quicken Loans, Inc.’s motion to compel (Dkt. 93) and the Government’s

 motion to compel (Dkts. 91, 92). The Court required supplemental filings and an evidentiary

 hearing (which was conducted on June 15, 2018) to ensure a complete record on matters not fully

 addressed by the earlier briefing on those motions. It also allowed for an ex parte submission by

 the Government in response to Quicken’s motion challenging the Government’s assertion of

 privilege (Dkts. 102, 104). Having reviewed all the materials, the Court now rules on the

 remaining issues.

                       I. QUICKEN’S MOTION TO COMPEL (Dkt. 93)

        Quicken seeks production of a Government memo and email that supposedly show that

 this civil action was a “political initiative unrelated to loan quality.” Def. Mot. at 14; see also

 Request for Production 198-199. The Court ordered that the documents be submitted to the Court

 for in camera review, see 6/5/2018 Order at 6, PageID.4722 (Dkt. 106), which was done. Having



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 reviewed the documents, the Court upholds the Government’s assertion of attorney-client privilege

 and the work-product doctrine. The documents contain advice from attorneys related to steps that

 the Federal Housing Administration (“FHA”) should take after initial steps of litigation had begun.

 Therefore, the Court will not order the Government to produce these documents.

        Regarding Quicken’s demand for documents about the Government’s decision to continue

 doing business with Quicken (RFP 189) and documents pertinent to the statute of limitations (RFPs

 162-163), the Court ordered the Government to file a declaration detailing what search was

 conducted, so the Court could evaluate the Government’s contention that it was unaware of any

 responsive documents. See 6/5/2018 Order at 6, PageID.4722.

        Having reviewed the declaration, the Court is satisfied that the Government has conducted

 a reasonable search.    The declaration details that the Department of Housing and Urban

 Development’s Office of General Counsel has researched the various issues raised by Quicken and

 conferred with employees, and has determined that no additional documents exist that are

 responsive to the requests. See Narode Declaration (Dkt. 112). Therefore, the Court will not order

 further action by the Government in regards to those RFPs.

                 II. GOVERNMENT’S MOTION TO COMPEL (Dkts. 91, 92)

        The Government claimed that certain information produced by Quicken was not in

 “reasonably usable” form under Fed. R. Civ. P. 34(b)(2)E)(ii), and that the Government thus

 needed remote access to certain Quicken underwriting systems, namely AMP, LARS, and GURU.

 The Court conducted an evidentiary hearing on June 15, 2018 to learn more detailed facts about

 the systems and Quicken’s contention that remote access would not be appropriate.

         Having considered all the testimony presented, the Court concludes that the Government

 has adequately demonstrated that it will be significantly handicapped in deposing Quicken



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 personnel without access to these systems. At the same time, the Court concludes that, with remote

 access, there is no effective way to fully and timely protect Quicken’s proprietary interest in other

 information unrelated to this action, which can be accessed through these systems. Therefore, the

 prudent approach is for the Government to be granted monitored access to the system, before and

 during depositions, at Quicken’s premises.

        Unless the parties agree to other arrangements, Quicken shall make the AMP, LARS,

 DocViewer, and GURU systems available to Government representatives (i.e. attorneys and

 supporting workers or contractors) at Quicken premises during the taking of a deposition, and

 additional on-premises access for up to 16 hours of preparation for each deposition within three

 business days before each deposition. Quicken may have monitors present while the Government

 representatives access the underwriting systems.

        While Quicken asked at the hearing for the same access to Government computer systems,

 the Court agrees with the Government that Quicken has not filed a motion to that effect, and the

 Government should be allowed further briefing on whether such access would be appropriate. The

 Court grants leave to Quicken to file such a motion no later than July 23, 2018. If it does, the

 Government shall respond by July 30, 2018; and Quicken shall reply by August 6, 2018.

       III. QUICKEN’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
              IMPROPERLY WITHHELD AS PRIVILEGED (Dkts. 102, 104)

        Quicken challenges the assertion of privileges as to certain documents that detail the

 process undertaken by the Government in amending the FHA’s TOTAL (Technology Open to

 Approved Lenders) algorithm.1 The Court reviewed the documents in camera to evaluate the




 1
  The documents include an email chain, forty versions of a project management plan, and nine
 versions of a chart containing proposed revisions to the algorithm. In its reply brief, Quicken
 withdrew its request as it pertained to the chart. See Def. Reply at PageID.4729 (Dkt. 108).
                                                  3
Case2:16-cv-14050-MAG-RSW
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                           ECF No. 127    Filed 09/22/21 PageID.6934
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                                                                             4 of
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 Government’s claim of privilege based on deliberative process. Having reviewed the documents,

 the Court sustains the Government’s assertion of the deliberative process privilege. That privilege

 protects the “decision making processes of government agencies,” focusing on “documents

 reflecting advisory opinions, recommendations and deliberations comprising part of a process by

 which governmental decisions and policies are formulated.” Nat’l Labor Relations Bd. v. Sears,

 Roebuck & Co., 421 U.S. 132, 150 (1975) (internal quotation marks omitted). It requires a

 showing that the document is both “predecisional and deliberative.” Schell v. U.S. Dep’t of Health

 & Human Servs., 843 F.2d 933, 940 (6th Cir. 1988) (internal quotation marks omitted). The

 assertion of privilege is satisfied, given that the documents propose recommended changes to a

 government system, some of which appear to have been adopted. Therefore, the Court will not

 order the Government to produce these documents.

        In reaching this conclusion, the Court rejects Quicken’s argument that the Government

 waived its privilege as it relates to these documents because it “chose the most unreasonable

 manner possible to avoid producing privileged documents” and “took no reasonable steps to

 mitigate the effects of its waiver.” See Mot. at 2-3, PageID.4699-4700. As an initial matter,

 Quicken has argued based on factors related to waiver of the attorney-client privilege, without

 citing case law showing that these factors also apply to the deliberative-process privilege.

 Regardless, the parties have accounted for the reality that, in this sprawling case, some privileged

 documents are likely to be turned over in the course of discovery. In the stipulated protective order

 entered by the District Court for the District of Columbia prior to transfer to this Court, the parties

 agreed that “[b]y providing any document or other information in its possession, no party waives

 any privileges, objections, or protection otherwise afforded to it by law or equity.” See 5/4/2016

 Stipulated Protective Order, ¶ 19 (Dkt. 33-8). That same order allowed the party who produced



                                                   4
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 privileged documents to claw back those documents. See id., ¶ 20. Quicken argues that the

 Government chose the most unreasonable manner possible to avoid producing privileged

 documents, but in a case in which the Government produced over 2.2 million documents, see Pl.

 Resp. at 5, PageID.4683 (Dkt. 103), it would be unreasonable to expect a fool-proof type of review

 that will ensure that there will be no production of documents that may be privileged. The

 disclosure here was inadvertent, and the Government took reasonable steps to prevent disclosure

 of privileged documents by running its own ESI searches to discover potentially privileged

 documents, see id. at 9, PageID.4687. Further, given the massiveness of the litigation tasks to be

 performed, the Government acted reasonably promptly in taking reasonable steps to rectify the

 error once it learned of it. See Fed. R. Evid. 502. Accordingly, the Court finds that the privilege

 is not waived.

        Quicken also challenges the Government’s assertion of privilege as to some 300,000

 documents by way of a privilege log for a variety of reasons, including: (i) failure to specify the

 privilege being invoked, (ii) failure to review documents to determine whether the privilege

 actually applies, and (iii) failure to produce redacted documents for those documents which the

 Government has reviewed. The Government responds that Quicken’s motion is inconsistent with

 the May 29, 2017 stipulation of the parties under Fed. R. Civ. P. 29 (Dkt. 99-3), which sets out a

 certain protocol for challenges to assertions of privilege. The Government also argues that it has

 acted reasonably in reviewing documents by narrowing its claim of privilege by several hundreds

 of thousands of documents through a time-consuming and costly document review process.

        This mega-litigation highlights the difficulty of conducting discovery where potentially

 millions of documents might have some bearing on myriad issues and where privileged documents

 might be found nestled among them. When huge troves of information are electronically stored,



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 computer search terms and algorithms can go only so far in the necessary winnowing process. The

 problem is compounded here because the parties used expansive search terms, triggering millions

 of hits, and because their stipulation does not address how an impasse is to be resolved after a

 party’s demand for a “Document Level Log” is rejected. See Stipulation ¶ 6.

           In these circumstances, the Court must devise an approach that is both fair and efficient,

 proportional to the needs of the case, and reasonably protective of the Government’s assertion of

 privilege, vague as that assertion may be at this point. To these ends, the Court orders the parties

 to confer on the development of additional search terms that may be applied to this sub-universe

 of documents, with the goal of narrowing it down to documents that bear on the issues in our case

 and identifying which documents among them are privileged. If the parties are not able to resolve

 this aspect of their dispute, they shall file a joint statement, by July 25, 2018, setting forth the

 results of their efforts and suggested next steps. The Court will thereafter issue an appropriate

 order.2

           SO ORDERED.

 Dated: July 13, 2018                                  s/Mark A. Goldsmith
        Detroit, Michigan                              MARK A. GOLDSMITH
                                                       United States District Judge

                                   CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and any
 unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
 addresses disclosed on the Notice of Electronic Filing on July 13, 2018.

                                                       s/Karri Sandusky
                                                       Case Manager


 2
   The Court rejects Quicken’s waiver argument regarding the 300,000 documents for the reasons
 stated earlier in this Opinion. While the Government’s failure to review all documents prior to
 production may ultimately impact on what action the Court will take if the parties cannot resolve
 this dispute on their own, the Government’s action is not inconsistent with the parties’ Rule 29
 stipulation and does not amount to a waiver.
                                                   6
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                               Exhibit 3
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 58 of 274 Page ID
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                   CONFIDENTIAL
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                           EXHIBIT 7
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                           EXHIBIT 8
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   June 28, 2021

   VIA EMAIL
   Kyle J. McGee
   Caitlin Moyna
   Laina M. Herbert
   GRANT & EISENHOFER P.A.

   RE:    United States ex rel. Malou Tutanes-Luster v. Broker Solutions, Inc., d/b/a New
          American Funding, No. 2-19-cv-01630-PSG-JPR

   Kyle, Caitlin, and Laina:

   Today, NAF is producing an overlay with metadata which will replace 10,946 documents
   that were previously-produced with slipsheets. Due to a technical error which occurred
   during the processing of these documents, their images were not produced. NAF is
   providing this overlay production without waiving its previous Objections and Responses
   to Relator’s RFPDs.

   Included in this production are five documents with redactions. NAF will provide a
   supplemental privilege log for these five documents later this week.

   These documents can be downloaded using the following link:




   The passwords you will need to access the documents will be sent via separate email.

   Please advise if you have any issues with accessing these documents.


   Sincerely,

   /s/ Lindsay Buchanan
   Lindsay Buchanan
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 64 of 274 Page ID
                                  #:2474




                           EXHIBIT 9



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                                  #:2475




                          EXHIBIT 10
      Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 66 of 274 Page ID
                                        #:2476


From:                            Timothy Ofak <ofak@thewbkfirm.com>
Sent:                            Friday, March 20, 2020 3:31 PM
To:                              Kyle McGee; Laina Herbert
Cc:                              Mitch Kider; Lindsay Buchanan
Subject:                         US ex rel. Tutanes-Luster v. Broker Solutions, Inc. - Next Production Update:

Follow Up Flag:                  Follow up
Due By:                          Monday, March 23, 2020 12:30 PM
Flag Status:                     Flagged


Laina and Kyle,

As an update, the next rolling document production will be uploaded to your FTP site on Monday. Given the current
state of affairs with COVID-19 and the movement by many to teleworking, my original estimate of providing the
production this week has been slightly delayed.

The plan is for the production to be zipped, password-protected, and uploaded to the FTP site you provided earlier this
week. I will provide you with confirmation on Monday along with a production cover letter and email with the password.
Once you receive the production, I would appreciate if you would confirm receipt and your ability to open the
production. Assuming this all works, we will continue to transmit productions in this manner going forward.

Thanks,

Tim

Timothy P. Ofak
Weiner Brodsky Kider PC
1300 19th Street NW 5th Floor
Washington DC 20036
office: 202 628 2000
direct: 202 557 3517
facsimile: 202 628 2011
ofak@thewbkfirm.com
www.thewbkfirm.com




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                          EXHIBIT 11



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                          EXHIBIT 1



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Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 70 of 274 Page ID
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                          EXHIBIT 1
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                          EXHIBIT 1



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                          EXHIBIT 1
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     Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 118 of 274 Page ID
                                       #:2528




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www.thewbkfirm.com




Tim and Lindsay,

Based on the volume of documents that NAF has produced and despite our team’s diligent
progress reviewing them, and in anticipation of the additional 11,000 “replacement” documents
we are expecting NAF to produce, we won’t be ready to start depositions until late July or
August. Thus, we suggest that we begin depositions in the second half of August and schedule
through September, allowing October for spill over and any additional discovery. For your
planning, we intend to depose the following people:

Rick Arvielo
Patty Arvielo
Kevin English
Cynthia Hamilton
     Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 119 of 274 Page ID
Debra Nesmith                          #:2529
Michelle Rogers
Russ Stanton
Rick Wohrman

We recognize this will require modifying the scheduling order to push all deadlines back 2
months. If our proposal regarding timing is acceptable to NAF, we will circulate a proposed
modified scheduling order later this week. If not, please let us know a good time to discuss.

Thanks, Laina

Laina M. Herbert | Grant & Eisenhofer P.A.
Associate
123 S. Justison Street
Wilmington, DE 19801
Tel: 302.622.7016
Fax: 302.622.7100
Cell: 302.332.4210
LHerbert@gelaw.com | www.gelaw.com

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                                  #:2550



 1    Daniel L. Berger (pro hac vice)             J. Nelson Thomas (pro hac vice)
      Kyle J. McGee (pro hac vice)                Jonathan W. Ferris (pro hac vice)
 2    Laina Herbert (pro hac vice)                Michael J. Lingle (pro hac vice)
      GRANT & EISENHOFER P.A.                     Annette M. Gifford (270777)
 3    123 Justison Street                         THOMAS & SOLOMON LLP
      Wilmington, Delaware 19801                  693 East Avenue
 4    Tel: 302-622-7000                           Rochester, New York 14607
                                                  Tel: 585-272-0540
 5    C. Brooks Cutter (121407)
      John R. Parker, Jr. (257761)
 6    CUTTER LAW PC
      401 Watt Avenue
 7    Sacramento, California 95864
      Tel: 916-290-9400
 8
      Attorneys for Plaintiff
 9
                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA, ex
     rel. MALOU TUTANES-LUSTER,
12                                                    Case No. 2:19-cv-01630-PSG-JPR
                         Plaintiff,
13                                                    PLAINTIFF’S FOURTH
           v.                                         REQUEST FOR PRODUCTION
14                                                    OF DOCUMENTS TO
     BROKER SOLUTIONS, INC. d/b/a                     DEFENDANT
15   NEW AMERICAN FUNDING,
16                       Defendant.
17
18
19         Plaintiff-Relator Malou Tutanes-Luster (“Relator”), by and through her
20   undersigned counsel and pursuant to Rules 26 and 34 of the Federal Rules of Civil
21   Procedure, hereby requests that Defendant Broker Solutions, Inc. d/b/a New American
22   Funding (“NAF” or “Defendant”) produce and permit the undersigned to inspect and
23   copy the documents described herein. The documents shall be produced at the offices
24   of Cutter Law PC, 401 West Avenue, Sacramento, CA 95864 within thirty (30) days
25   of service, or at a time and place agreed to by the parties.
26
27
28   PLAINTIFF’S FOURTH REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                            Case No. 3:19-cv-01630-PSG-JPR
                                           1
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 141 of 274 Page ID
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                           DEFINITIONS AND INSTRUCTIONS
 1
 2         Unless otherwise indicated, capitalized terms have the meaning ascribed to them

 3   in the First Amended Qui Tam Complaint and Demand for a Jury Trial in this Action.

 4   In addition, Relator hereby incorporates by reference all definitions and instructions

 5   set forth in the requests for production styled “Plaintiff’s First Request For Production

 6   of Documents to Defendant,” served on July 24, 2019 in the above-captioned Action.

 7
 8                               RELEVANT TIME PERIOD

 9         The Relevant Time Period for each Request is noted in each Request, and
10   includes all Documents and information related to that period, even though prepared
11   or published outside of that period.
12
13                                DOCUMENT REQUESTS
14   REQUEST NO. 77:          Complete loan files for all FHA and VA loans originated by
15
     NAF that resulted in any claim being made after January 1, 2011, regardless of loan
16
17   origination date.

18
     Dated: September 9, 2020
19
                                                  GRANT & EISENHOFER P.A.
20
                                                    /s/ Laina M. Herbert
21                                                Daniel L. Berger (pro hac vice)
                                                  Kyle J. McGee (pro hac vice)
22                                                Laina M. Herbert (pro hac vice)
                                                  123 Justison Street
23                                                Wilmington, DE 19801
                                                  Telephone: (302) 622-7000
24                                                Emails: dberger@gelaw.com
                                                           kmcgee@gelaw.com
25                                                         lherbert@gelaw.com
26
27
28   PLAINTIFF’S FOURTH REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                            Case No. 3:19-cv-01630-PSG-JPR
                                           2
Case 2:19-cv-01630-PSG-JPR Document 148 Filed 09/22/21 Page 142 of 274 Page ID
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                                            CUTTER LAW PC
 1                                          C. Brooks Cutter (121407)
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28   PLAINTIFF’S FOURTH REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
                            Case No. 3:19-cv-01630-PSG-JPR
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 1                             CERTIFICATE OF SERVICE
 2         I, Laina M. Herbert, hereby certify that on this 9th day of September 2020, a
 3   true and correct copy of Plaintiff’s Fourth Request for Production of Documents
 4   to Defendant was emailed to counsel of record for defendant at the email addresses
 5   below.
 6
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 7                               Joel A. Schiffman, Esquire
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20
                                                   /s/ Laina M. Herbert
21
                                                   Laina M. Herbert
22
23
24
25
26
27
28   PLAINTIFF’S FOURTH REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT
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                           EXHIBIT
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                                                                                                 17    Attorneys for Defendant Broker Solutions, Inc.
                                                                                                       d/b/a New American Funding
                                                                                                 18

                                                                                                 19                      UNITED STATES DISTRICT COURT
                                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                 20
                                                                                                       UNITED STATES OF AMERICA,               Civil Action No. 2:19-cv-01630-PSG-
                                                                                                 21    ex rel. MALOU TUTANES-                  JPR
                                                                                                       LUSTER,
                                                                                                 22
                                                                                                                      Plaintiff,               DEFENDANT NEW
                                                                                                 23                                            AMERICAN FUNDING’S
                                                                                                             v.                                OBJECTIONS AND
                                                                                                 24                                            RESPONSES TO RELATOR’S
                                                                                                       BROKER SOLUTIONS, INC.                  FOURTH SET OF REQUESTS
                                                                                                 25    d/b/a NEW AMERICAN                      FOR PRODUCTION OF
                                                                                                       FUNDING,                                DOCUMENTS
                                                                                                 26
                                                                                                                      Defendant.
                                                                                                 27

                                                                                                 28                                               NAF’s Objections and Responses to Relator’s
                                                                                                                                            Fourth Set of Requests for Production of Documents
                                                                                                                                                                  Case No. 2:19-cv-01630-PSG
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                                                                                                  1
                                                                                                            Pursuant to Rules 26 and 34 of the Federal Rule of Civil Procedure,
                                                                                                  2
                                                                                                      Defendant Broker Solutions, Inc. d/b/a New American Funding (“NAF”) objects
                                                                                                  3

                                                                                                  4   and responds to Relator Malou Tutanes-Luster’s (“Relator”) Fourth Set of
                                                                                                  5
                                                                                                      Requests for Production of Documents to NAF as follows.
                                                                                                  6
                                                                                                                OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS
                                                                                                  7

                                                                                                  8         NAF objects to Relator’s definitions of “NAF,” “Company,” “You,”
                                                                                                  9
                                                                                                      “Your,” and “Yours” inasmuch as they call for information and documents from
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                      NAF’s “subsidiaries, divisions or affiliates, predecessors, successors and any
                                                                                                 11

                                                                                                      present and former officers, directors, employees, agents or members of the Board
WEINER BRODSKY KIDER PC




                                                                                                 12

                                                                                                 13
                                                                                                      of Directors of the Company, its attorneys, accountants, advisors and all other
                                                                                                 14
                                                                                                      persons acting or purporting to act on its behalf” not relevant to the claims or
                                                                                                 15

                                                                                                 16   defenses of any party or protected from disclosure by the attorney-client privilege,
                                                                                                 17
                                                                                                      the work product doctrine, examination privilege, or any other applicable privilege.
                                                                                                 18

                                                                                                 19
                                                                                                      The Amended Complaint does not reference any entity other than NAF.

                                                                                                 20   Accordingly, NAF will only respond on its own behalf.
                                                                                                 21

                                                                                                 22

                                                                                                 23

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                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                              Fourth Set of Requests for Production of Documents
                                                                                                                                                                    Case No. 2:19-cv-01630-PSG
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                                                                                                  1
                                                                                                               NAF objects to Relator’s Instructions to the extent they purport to impose

                                                                                                  2   obligations beyond those required by the Federal Rules of Civil Procedure, and to
                                                                                                  3
                                                                                                      the extent that they call for information not relevant to the claim or defense of any
                                                                                                  4

                                                                                                  5
                                                                                                      party.

                                                                                                  6                     OBJECTIONS TO RELEVANT TIME PERIOD
                                                                                                  7
                                                                                                               NAF objects to the “Relevant Time Period” as beyond the statute of
                                                                                                  8

                                                                                                  9   limitations and as therefore calling for information that is not relevant to the claim

                                                                                                 10   or defense of any party.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                                                   GENERAL OBJECTIONS
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                                                                                                 12

                                                                                                 13            NAF’s objections and responses to the Requests are subject to and governed

                                                                                                 14   by the following general objections. When a general objection is particularly
                                                                                                 15
                                                                                                      applicable to a specific Request, NAF may incorporate that objection by reference
                                                                                                 16

                                                                                                 17   in its response. However, such incorporation by reference is not intended to waive

                                                                                                 18   any of the other general objections to each Request.
                                                                                                 19
                                                                                                               1.    NAF objects to the Requests to the extent they seek information and
                                                                                                 20

                                                                                                 21   documents protected from disclosure by the attorney-client privilege, the work

                                                                                                 22   product doctrine, examination privilege, or any other applicable privilege.
                                                                                                 23
                                                                                                               2.    NAF objects to the Requests to the extent they purport to impose
                                                                                                 24

                                                                                                 25   obligations beyond those prescribed by the Federal Rules of Civil Procedure or the
                                                                                                 26

                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                               Fourth Set of Requests for Production of Documents
                                                                                                                                                                     Case No. 2:19-cv-01630-PSG
                                                                                                                                                 3
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                                                                                                  1
                                                                                                      Local Civil Rules of the District Court for the Central District of California, and

                                                                                                  2   any Orders of the Court.
                                                                                                  3
                                                                                                            3.     NAF objects to the Requests to the extent they seek information not in
                                                                                                  4

                                                                                                  5
                                                                                                      NAF’s possession, custody, or control.

                                                                                                  6         4.     NAF objects to the Requests to the extent they are overly broad,
                                                                                                  7
                                                                                                      unduly burdensome, or oppressive, or do not comply with the Federal Rules’
                                                                                                  8

                                                                                                  9   proportionality requirement.

                                                                                                 10         5.     NAF objects to the Requests to the extent they seek information and
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      documents that are not relevant to a claim or defense of a party and, therefore, are
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                                                                                                 12

                                                                                                 13   beyond the scope of permissible discovery as prescribed by Federal Rule of Civil

                                                                                                 14   Procedure 26(b)(1).
                                                                                                 15
                                                                                                                                 RESERVATION OF RIGHTS
                                                                                                 16

                                                                                                 17         1.     NAF’s objections and responses to the Requests are based on

                                                                                                 18   information now known to NAF. NAF reserves the right to amend, modify, or
                                                                                                 19
                                                                                                      supplement its objections and responses if it learns new information.
                                                                                                 20

                                                                                                 21         2.     The fact that, in response to certain Requests, NAF provides

                                                                                                 22   responsive information is not a concession that the information or documents are
                                                                                                 23
                                                                                                      relevant or admissible in this case.
                                                                                                 24

                                                                                                 25         3.      In producing documents and information, NAF does not in any way
                                                                                                 26   waive, but rather, intends to preserve:
                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                Fourth Set of Requests for Production of Documents
                                                                                                                                                                      Case No. 2:19-cv-01630-PSG
                                                                                                                                                  4
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                                                                                                  1
                                                                                                               a. all objections as to competency, relevancy, materiality, and

                                                                                                  2                admissibility;
                                                                                                  3
                                                                                                               b. all objections as to vagueness and ambiguity;
                                                                                                  4

                                                                                                  5
                                                                                                               c. all rights to object on any ground to the use of the responses contained

                                                                                                  6                herein in any proceeding; and
                                                                                                  7
                                                                                                               d. all rights to object on any grounds to any further discovery request
                                                                                                  8

                                                                                                  9                related to any of the Requests herein.

                                                                                                 10
                                                                                                                           OBJECTIONS AND RESPONSES TO
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11                         REQUESTS FOR PRODUCTION
WEINER BRODSKY KIDER PC




                                                                                                 12

                                                                                                 13   REQUEST NO. 77:           Complete loan files for all FHA and VA loans originated

                                                                                                 14   by NAF that resulted in any claim being made after January 1, 2011, regardless of

                                                                                                 15   loan origination date.

                                                                                                 16

                                                                                                 17   OBJECTION: NAF objects to this request for FHA and VA loan files as overly

                                                                                                 18   broad and unduly burdensome given the number of loan files—over 1,300 FHA

                                                                                                 19   loan files identified by HUD—seemingly being requested. Many of these loans

                                                                                                 20   were identified as having a HAMP loan modification incentive payment, not a

                                                                                                 21   claim concerning any outstanding loan amount. See Req. No. 1 - Broker Solutions

                                                                                                 22   loans originated with loss mitigation claims paid.xlsx produced by HUD. Many of

                                                                                                 23   these FHA loans are active loans, and therefore, are not subject to Relator’s

                                                                                                 24   Amended Complaint. See id. NAF further objects to producing loan files for

                                                                                                 25   FHA streamline refinance loans, which predominate the loans requested. Such

                                                                                                 26   loans have minimal origination and underwriting requirements that are not

                                                                                                 27   implicated by Relator’s Amended Complaint. See 4000.1 HUD Handbook, II.A.8.

                                                                                                 28                                                NAF’s Objections and Responses to Relator’s
                                                                                                                                             Fourth Set of Requests for Production of Documents
                                                                                                                                                                   Case No. 2:19-cv-01630-PSG
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                                                                                                  1   NAF also objects to the extent Relator is seeking loan files prior to NAF becoming
                                                                                                  2   a Direct Endorsement (“DE”) lender. As for VA loans, NAF objects to the extent
                                                                                                  3   Relator seeks loan files that were obtained by the Company prior to NAF obtaining
                                                                                                  4   automatic approved lender status. Similarly, NAF objects to the extent that
                                                                                                  5   Relator seeks loan files related to VA Interest Rate Reduction Refinancing Loans
                                                                                                  6   (IRRRLs). Such loans also have minimal origination and underwriting
                                                                                                  7   requirements that are not implicated by Relator’s Amended Complaint. See VA
                                                                                                  8   Pamphlet 26-7, Revised Chapter 6: Refinancing Loans.
                                                                                                  9
                                                                                                 10   RESPONSE: NAF stands on its objections.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
WEINER BRODSKY KIDER PC




                                                                                                 12

                                                                                                 13   Dated: October 9, 2020                W EINER BRODSKY KIDER PC
                                                                                                 14
                                                                                                                                            s/ Timothy P. Ofak
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                                                                                                 24                                         Counsel for Broker Solutions, Inc.
                                                                                                                                            d/b/a New American Funding
                                                                                                 25

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                                                                                                 28                                               NAF’s Objections and Responses to Relator’s
                                                                                                                                            Fourth Set of Requests for Production of Documents
                                                                                                                                                                  Case No. 2:19-cv-01630-PSG
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                                                                                                  1
                                                                                                                              CERTIFICATE OF SERVICE

                                                                                                  2         I certify that on October 9, 2020, I caused the foregoing Defendant New
                                                                                                  3
                                                                                                      American Funding’s Objections and Responses to Relator’s Fourth Set of Requests
                                                                                                      for Production of Documents to be sent via electronic mail to:
                                                                                                  4

                                                                                                  5
                                                                                                            J. Nelson Thomas (Pro Hac Vice)
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                                                                                                  6         Michael J. Lingle (Pro Hac Vice)
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                                                                                                 10         Daniel L. Berger (to be admitted Pro Hac Vice)
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                                                                                                 28                                              NAF’s Objections and Responses to Relator’s
                                                                                                                                           Fourth Set of Requests for Production of Documents
                                                                                                                                                                 Case No. 2:19-cv-01630-PSG
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                                                                                                 14    Email: jrosenthal@mhlawcorp.com
                                                                                                 15
                                                                                                       Attorneys for Defendant Broker Solutions, Inc.
                                                                                                 16    d/b/a New American Funding
                                                                                                 17
                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                                 18                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                                 19    UNITED STATES OF AMERICA,               Civil Action No. 19-cv-01630-PSG-JPR
                                                                                                       ex rel. MALOU TUTANES-
                                                                                                 20    LUSTER,
                                                                                                                                               DEFENDANT NEW
                                                                                                 21                   Plaintiff,               AMERICAN FUNDING’S
                                                                                                                                               OBJECTIONS AND
                                                                                                 22          v.                                RESPONSES TO RELATOR
                                                                                                                                               MALOU TUTANES-
                                                                                                 23    BROKER SOLUTIONS, INC.                  LUSTER’S FIRST SET OF
                                                                                                       d/b/a NEW AMERICAN                      REQUESTS FOR
                                                                                                 24    FUNDING,                                PRODUCTION OF
                                                                                                                                               DOCUMENTS
                                                                                                 25                   Defendant.
                                                                                                 26

                                                                                                 27

                                                                                                 28                                                NAF’s Objections and Responses to Relator’s
                                                                                                                                              First Set of Requests for Production of Documents
                                                                                                                                                                     Case No. 19-cv-01630-PSG
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                                                                                                  1
                                                                                                            Pursuant to Rules 26 and 34 of the Federal Rule of Civil Procedure,

                                                                                                  2   Defendant Broker Solutions, Inc. d/b/a New American Funding (“NAF”) objects to
                                                                                                  3
                                                                                                      Relator Malou Tutanes-Luster’s (“Relator”) First Set of Requests for Production of
                                                                                                  4

                                                                                                  5
                                                                                                      Documents to NAF as follows. Furthermore, all productions of documents will be

                                                                                                  6   governed by the ESI protocol and the protective order which have yet to be agreed
                                                                                                  7
                                                                                                      upon by the parties and/or entered by the Court. NAF will supplement these
                                                                                                  8

                                                                                                  9   objections with any responses, and coordinate production of documents, once the

                                                                                                 10   an ESI protocol and protective order are in place, after meeting and conferring
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                                                                                                 11
                                                                                                      with Relator to the extent necessary, and as otherwise required by Rule 26(e).
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                                                                                                 13                          OBJECTIONS TO DEFINITIONS

                                                                                                 14         NAF objects to Relator’s definitions of “NAF,” “Company,” “You,”
                                                                                                 15
                                                                                                      “Your,” and “Yours” inasmuch as they call for information and documents from
                                                                                                 16

                                                                                                 17   NAF’s “subsidiaries, divisions or affiliates, predecessors, successors and any

                                                                                                 18   present and former officers, directors, employees, agents or members of the Board
                                                                                                 19
                                                                                                      of Directors of the Company, its attorneys, accountants, advisors and all other
                                                                                                 20

                                                                                                 21   persons acting or purporting to act on its behalf” not relevant to the claims or

                                                                                                 22   defenses of any party or protected from disclosure by the attorney-client privilege,
                                                                                                 23
                                                                                                      the work product doctrine, examination privilege, or any other applicable privilege.
                                                                                                 24

                                                                                                 25   The Amended Complaint does not reference any entity other than NAF.
                                                                                                 26   Accordingly, NAF will only respond on its own behalf.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1
                                                                                                               NAF objects to the “Relevant Time Period” as beyond the statute of

                                                                                                  2   limitations and as therefore calling for information that is not relevant to the claim
                                                                                                  3
                                                                                                      or defense of any party.
                                                                                                  4

                                                                                                  5
                                                                                                                              OBJECTIONS TO INSTRUCTIONS

                                                                                                  6            NAF objects to Relator’s Instructions to the extent they purport to impose
                                                                                                  7
                                                                                                      obligations beyond those required by the Federal Rules of Civil Procedure, and to
                                                                                                  8

                                                                                                  9   the extent that they call for information not relevant to the claim or defense of any

                                                                                                 10   party.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                                                   GENERAL OBJECTIONS
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                                                                                                 12

                                                                                                 13            NAF’s objections and responses to the Requests are subject to and governed

                                                                                                 14   by the following general objections. When a general objection is particularly
                                                                                                 15
                                                                                                      applicable to a specific Request, NAF may incorporate that objection by reference
                                                                                                 16

                                                                                                 17   in its response. However, such incorporation by reference is not intended to waive

                                                                                                 18   any of the other general objections to each Request.
                                                                                                 19
                                                                                                               1.    NAF objects to the Requests to the extent they seek information and
                                                                                                 20

                                                                                                 21   documents protected from disclosure by the attorney-client privilege, the work

                                                                                                 22   product doctrine, examination privilege, or any other applicable privilege.
                                                                                                 23
                                                                                                               2.    NAF objects to the Requests to the extent they purport to impose
                                                                                                 24

                                                                                                 25   obligations beyond those prescribed by the Federal Rules of Civil Procedure or the
                                                                                                 26   Local Civil Rules of the District Court for the Central District of California, and
                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
                                                                                                                                                                        Case No. 19-cv-01630-PSG
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                                                                                                  1
                                                                                                      any Orders of the Court.

                                                                                                  2         3.      NAF objects to the Requests to the extent they seek information not in
                                                                                                  3
                                                                                                      NAF’s possession, custody or control.
                                                                                                  4

                                                                                                  5
                                                                                                            4.      NAF objects to the Requests to the extent they are overly broad,

                                                                                                  6   unduly burdensome, or oppressive, or do not comply with the Federal Rules’
                                                                                                  7
                                                                                                      proportionality requirement.
                                                                                                  8

                                                                                                  9         5.      NAF objects to the Requests to the extent they seek information and

                                                                                                 10   documents that are not relevant to a claim or defense of a party and, therefore, are
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      beyond the scope of permissible discovery as prescribed by Federal Rule of Civil
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                                                                                                 13   Procedure 26(b)(1).

                                                                                                 14                              RESERVATION OF RIGHTS
                                                                                                 15
                                                                                                            1.      NAF’s objections and responses to the Requests are based on
                                                                                                 16

                                                                                                 17   information now known to NAF. NAF reserves the right to amend, modify, or

                                                                                                 18   supplement its objections and responses if it learns new information.
                                                                                                 19
                                                                                                            2.      The fact that, in response to certain Requests, NAF provides
                                                                                                 20

                                                                                                 21   responsive information is not a concession that the information or documents are

                                                                                                 22   relevant or admissible in this case.
                                                                                                 23
                                                                                                            3.      In producing documents and information, NAF does not in any way
                                                                                                 24

                                                                                                 25   waive but rather, intends to preserve:
                                                                                                 26              a. all objections as to competency, relevancy, materiality, and
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
                                                                                                                                                                       Case No. 19-cv-01630-PSG
                                                                                                                                                4
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                                                                                                  1
                                                                                                                   admissibility;

                                                                                                  2             b. all objections as to vagueness and ambiguity;
                                                                                                  3
                                                                                                                c. all rights to object on any ground to the use of the responses contained
                                                                                                  4

                                                                                                  5
                                                                                                                   herein in any proceeding; and

                                                                                                  6             d. all rights to object on any grounds to any further discovery request
                                                                                                  7
                                                                                                                   related to any of the Requests herein.
                                                                                                  8

                                                                                                  9                        OBJECTIONS AND RESPONSES TO
                                                                                                                            REQUESTS FOR PRODUCTION
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   REQUEST NO. 1: All certifications You made to the FHA to participate in the
                                                                                                      DE Program, including Your: (a) initial certifications; (b) annual certifications; and
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                                                                                                 12

                                                                                                 13   (c) each separate certification submitted to the Government for each individual
                                                                                                 14   loan that You endorsed for Government insurance (“loan-level certifications”).
                                                                                                 15

                                                                                                 16   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 17   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 18   documents in its possession, custody, or control to the extent such documents are
                                                                                                 19   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 20   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 21   NAF also objects to this request as vague and ambiguous with respect to the terms
                                                                                                 22   and phrases “certifications,” “participate in the DE Program,” “initial
                                                                                                 23   certifications,” “annual certifications,” “each separate certification,” “loan-level
                                                                                                 24   certifications,” and “Government insurance.” NAF further objects to this request
                                                                                                 25   on the basis that it is overly broad and unduly burdensome. Loan-level
                                                                                                 26   certifications on FHA loans for which no claims were paid are not relevant to any
                                                                                                 27   party’s claims or defenses, and are not proportional to the needs of the case.
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
                                                                                                                                                                        Case No. 19-cv-01630-PSG
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                                                                                                  1   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  2   produce any initial certification to participate in the DE Program—to the extent
                                                                                                  3   any certification exists—in its possession, custody, or control which are reasonably
                                                                                                  4   accessible and which NAF can locate and identify after a reasonable search. As
                                                                                                  5   for the annual certifications, since at least 2014, FHA-approved lenders complete
                                                                                                  6   the annual recertification process online through HUD’s Lender Electronic
                                                                                                  7   Assessment Portal (LEAP), and NAF’s annual certifications are available from
                                                                                                  8   HUD. NAF will also produce loan-level certifications in loan files for FHA loans
                                                                                                  9   on which claims were paid by HUD in its possession, custody, or control which are
                                                                                                 10   reasonably accessible and which NAF can locate and identify after a reasonable
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                                                                                                 11   search.
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                                                                                                 13   REQUEST NO. 2: All certifications You made to the VA in order to participate in
                                                                                                 14   the VA Program, including Your: (a) initial certifications, including but not limited
                                                                                                 15   to Your Form 26-8736; (b) annual certifications; and (c) loan-level certifications,
                                                                                                 16   including but not limited to Your VA Forms 26-1820.
                                                                                                 17

                                                                                                 18   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 19   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 20   documents in its possession, custody, or control to the extent such documents are
                                                                                                 21   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 22   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 23   NAF also objects to this request as vague and ambiguous with respect to the terms
                                                                                                 24   and phrases “certifications,” “participate in the VA Program,” “initial
                                                                                                 25   certifications,” “annual certifications,” and “loan-level certifications.” NAF
                                                                                                 26   further objects to this request on the basis that it is overly broad. Loan-level
                                                                                                 27   certifications on VA loans for which no claims were paid are not relevant to any
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   party’s claims or defenses, and are not proportional to the needs of the case.
                                                                                                  2

                                                                                                  3   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  4   produce any initial certification to the VA in its possession, custody, or control
                                                                                                  5   which is reasonably accessible and which NAF can locate and identify after a
                                                                                                  6   reasonable search. NAF is unaware of any annual certifications responsive to this
                                                                                                  7   request. NAF will also produce loan-level certifications in loan files for VA loans
                                                                                                  8   on which guarantees were paid by VA in its possession, custody, or control which
                                                                                                  9   are reasonably accessible and which NAF can locate and identify after a
                                                                                                 10   reasonable search.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      REQUEST NO. 3: All Communications concerning any certifications you made
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                                                                                                 13   to the FHA and/or the VA in order to participate in the Government Programs,
                                                                                                 14   including Your: (a) initial certifications; (b) annual certifications; and (c) loan-
                                                                                                 15   level certifications.
                                                                                                 16

                                                                                                 17   OBJECTION: NAF objects to the request for “All Communications” as overly
                                                                                                 18   broad and unduly burdensome. NAF also objects to this request as vague and
                                                                                                 19   ambiguous with respect to the terms and phrases “certifications,” “participate in
                                                                                                 20   the Government Programs,” “initial certifications,” “annual certifications,” and
                                                                                                 21   “loan-level certifications.” NAF further objects to this request to the extent that it
                                                                                                 22   calls for documents that are not relevant to any party’s claims or defenses, and it is
                                                                                                 23   not proportional to the needs of the case.
                                                                                                 24

                                                                                                 25

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                                                                                                 28                                                     NAF’s Objections and Responses to Relator’s
                                                                                                                                                   First Set of Requests for Production of Documents
                                                                                                                                                                          Case No. 19-cv-01630-PSG
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                                                                                                  1   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                  2   in good faith to discuss this request to better understand what information Relator
                                                                                                  3   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                  4   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                  5   phased production, following the determination of custodians and search terms,
                                                                                                  6   and the date of production will be determined by the agreement of the parties.
                                                                                                  7

                                                                                                  8   REQUEST NO. 4: All Communications with the FHA concerning the DE
                                                                                                  9   Program.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   OBJECTION: NAF objects to the request for “All Communications” as overly
                                                                                                      broad and unduly burdensome. NAF also objects to this request to the extent that
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                                                                                                 13   it calls for documents that are not relevant to any party’s claims or defenses, and it
                                                                                                 14   is not proportional to the needs of the case.
                                                                                                 15

                                                                                                 16   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                 17   in good faith to discuss this request to better understand what information Relator
                                                                                                 18   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                 19   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 20   phased production, following the determination of custodians and search terms,
                                                                                                 21   and the date of production will be determined by the agreement of the parties.
                                                                                                 22

                                                                                                 23   REQUEST NO. 5: All Communications with the VA concerning the VA
                                                                                                 24   Program.
                                                                                                 25

                                                                                                 26

                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
                                                                                                                                                                       Case No. 19-cv-01630-PSG
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                                                                                                  1   OBJECTION: NAF objects to the request for “All Communications” as overly
                                                                                                  2   broad and unduly burdensome. NAF also objects to this request to the extent that
                                                                                                  3   it calls for documents that are not relevant to any party’s claims or defenses, and it
                                                                                                  4   is not proportional to the needs of the case.
                                                                                                  5

                                                                                                  6   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                  7   in good faith to discuss this request to better understand what information Relator
                                                                                                  8   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                  9   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 10   phased production, following the determination of custodians and search terms,
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                                                                                                 11   and the date of production will be determined by the agreement of the parties.
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                                                                                                 13   REQUEST NO. 6: Your complete underwriting files for all loans submitted to the
                                                                                                 14   FHA under the DE Program.
                                                                                                 15

                                                                                                 16   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 17   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 18   documents in its possession, custody, or control to the extent such documents are
                                                                                                 19   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 20   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 21   NAF also objects to this request as vague and ambiguous with respect to the phrase
                                                                                                 22   “complete underwriting files.” NAF further objects to this request on the basis that
                                                                                                 23   it is overly broad and unduly burdensome to the extent it seeks “underwriting files
                                                                                                 24   for all loans submitted to the FHA under the DE Program.” Files on FHA loans
                                                                                                 25   for which no claims were paid are not relevant to any party’s claims or defenses,
                                                                                                 26   and they are not proportional to the needs of the case.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  2   produce loan files for FHA loans on which claims were paid by HUD in its
                                                                                                  3   possession, custody, or control which are reasonably accessible and which NAF
                                                                                                  4   can locate and identify after a reasonable search.
                                                                                                  5

                                                                                                  6   REQUEST NO. 7: Your complete underwriting files for all loans submitted to the
                                                                                                  7   VA under the VA Program.
                                                                                                  8

                                                                                                  9   OBJECTION: NAF objects to the request for “complete underwriting files for
                                                                                                 10   all loans submitted to the VA” as creating an undue burden, and will instead limit
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                                                                                                 11   any production to relevant, non-privileged documents in its possession, custody, or
                                                                                                      control to the extent such documents are reasonably accessible and which NAF can
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                                                                                                 13   locate after a reasonable search and review, and in a manner which is otherwise
                                                                                                 14   consistent with its legal obligations. NAF also objects to this request as vague and
                                                                                                 15   ambiguous with respect to the phrase “complete underwriting files.” NAF further
                                                                                                 16   objects to this request on the basis that it is overly broad and unduly burdensome to
                                                                                                 17   the extent it seeks “underwriting files for all loans submitted to the VA under the
                                                                                                 18   VA Program.” Files on VA loans for which no claims were paid are not relevant
                                                                                                 19   to any party’s claims or defenses, and are not proportional to the needs of the case.
                                                                                                 20

                                                                                                 21   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 22   produce loan files for VA loans on which claims were paid by VA in its
                                                                                                 23   possession, custody, or control which are reasonably accessible and which NAF
                                                                                                 24   can locate and identify after a reasonable search.
                                                                                                 25

                                                                                                 26   REQUEST NO. 8: All Government loan files reviewed by Plaintiff that were
                                                                                                 27   endorsed to the Government.
                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   OBJECTION:         NAF objects to this request as vague and ambiguous with
                                                                                                  3   respect to the terms and phrases “Government” and “Government loan files.”
                                                                                                  4   NAF further objects to this request on the basis that it is overly broad and unduly
                                                                                                  5   burdensome to the extent it seeks loan files other than FHA and VA loan files on
                                                                                                  6   which claims were paid by FHA or VA, as any such loan files are not relevant to
                                                                                                  7   any party’s claims or defenses, and they are not proportional to the needs of the
                                                                                                  8   case.
                                                                                                  9   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 10   produce the loan files for FHA and VA loans worked on by Relator in its
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   possession, custody, or control which are reasonably accessible and which NAF
                                                                                                      can locate and identify after a reasonable search. See Bates Nos. NAF_QUI
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                                                                                                 13   TAM_0000000001—NAF_QUI TAM_0000025401.
                                                                                                 14

                                                                                                 15   REQUEST NO. 9: Data sufficient to show and identify every Government loan
                                                                                                 16   that You submitted to the FHA and/or the VA that defaulted.
                                                                                                 17

                                                                                                 18   OBJECTION: NAF objects to the request for “Data sufficient to show and
                                                                                                 19   identify every Government loan” that defaulted as overly broad and creating an
                                                                                                 20   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 21   documents in its possession, custody, or control to the extent such documents are
                                                                                                 22   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 23   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 24   NAF also objects to this request as vague and ambiguous with respect to the terms
                                                                                                 25   and phrases “data sufficient to show” and “Government loan.” Furthermore, data
                                                                                                 26   for FHA and VA loans for which no claims were paid are not relevant to any
                                                                                                 27   party’s claims or defenses, and are not proportional to the needs of the case.
                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  3   produce quality control reports, Early Payment Default reviews, HUD audits, and
                                                                                                  4   VA audits which may contain information responsive to this request, which are
                                                                                                  5   reasonably accessible, and which NAF can locate and identify after a reasonable
                                                                                                  6   search.
                                                                                                  7

                                                                                                  8   REQUEST NO. 10: All Communications concerning any Government loan that
                                                                                                  9   You submitted to the FHA and/or the VA that defaulted.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   OBJECTION: NAF objects to the request for “All Communications” as overly
                                                                                                      broad and unduly burdensome. NAF further objects to this request as vague and
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                                                                                                 13   ambiguous with respect to the term “Government loan.” NAF also objects to this
                                                                                                 14   request to the extent that it calls for documents that are not relevant to any party’s
                                                                                                 15   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 16

                                                                                                 17   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                 18   in good faith to discuss this request to better understand what information Relator
                                                                                                 19   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                 20   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 21   phased production, following the determination of custodians and search terms,
                                                                                                 22   and the date of production will be determined by the agreement of the parties.
                                                                                                 23

                                                                                                 24   REQUEST NO. 11: All claims or requests for payment made to the Government
                                                                                                 25   on any loan originated by NAF under the Government Programs, whether made by
                                                                                                 26   You or by any third-party that subsequently acquired the loan after You sold it, as
                                                                                                 27   a result of defaulted FHA loans or VA loans that You originated and endorsed.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  2   OBJECTION: NAF objects to the request for “All claims or requests for
                                                                                                  3   payment” as overly broad and creating an undue burden, and will instead limit any
                                                                                                  4   production to relevant, non-privileged documents in its possession, custody, or
                                                                                                  5   control to the extent such documents are reasonably accessible and which NAF can
                                                                                                  6   locate after a reasonable search and review, and in a manner which is otherwise
                                                                                                  7   consistent with its legal obligations. NAF also objects to this request as vague and
                                                                                                  8   ambiguous with respect to the term “Government.”
                                                                                                  9
                                                                                                 10   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   produce claims and requests for payment made to FHA and VA on FHA and VA
                                                                                                      loans the Company originated that are in its possession, custody, or control which
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                                                                                                 13   are reasonably accessible and which NAF can locate and identify after a
                                                                                                 14   reasonable search.
                                                                                                 15

                                                                                                 16   REQUEST NO. 12: Documents reflecting all payments You received from the
                                                                                                 17   FHA.
                                                                                                 18

                                                                                                 19   OBJECTION: NAF objects to the request for “Documents reflecting all
                                                                                                 20   payments” as overly broad and creating an undue burden, and will instead limit
                                                                                                 21   any production to relevant, non-privileged documents in its possession, custody, or
                                                                                                 22   control to the extent such documents are reasonably accessible and which NAF can
                                                                                                 23   locate after a reasonable search and review, and in a manner which is otherwise
                                                                                                 24   consistent with its legal obligations. NAF also objects to this request as vague and
                                                                                                 25   ambiguous with respect to the terms “reflecting” and “payments.” NAF also
                                                                                                 26   objects to this request to the extent that it calls for documents that are not relevant
                                                                                                 27   to any party’s claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  3   produce information sufficient to reflect payments received from FHA in
                                                                                                  4   connection with claims made on FHA loans the Company originated that is in its
                                                                                                  5   possession, custody, or control which is reasonably accessible and which NAF can
                                                                                                  6   locate and identify after a reasonable search.
                                                                                                  7

                                                                                                  8   REQUEST NO. 13: Documents reflecting all payments You received from the
                                                                                                  9   VA.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   OBJECTION: NAF objects to the request for “Documents reflecting all
                                                                                                      payments” as overly broad and creating an undue burden, and will instead limit
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                                                                                                 13   any production to relevant, non-privileged documents in its possession, custody, or
                                                                                                 14   control to the extent such documents are reasonably accessible and which NAF can
                                                                                                 15   locate after a reasonable search and review, and in a manner which is otherwise
                                                                                                 16   consistent with its legal obligations. NAF also objects to this request as vague and
                                                                                                 17   ambiguous with respect to the terms “reflecting” and “payments.” NAF also
                                                                                                 18   objects to this request to the extent that it calls for documents that are not relevant
                                                                                                 19   to any party’s claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 20

                                                                                                 21   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 22   produce information sufficient to reflect payments received from VA in connection
                                                                                                 23   with requests for guaranty payments made on VA loans the Company originated
                                                                                                 24   that is in its possession, custody, or control which is reasonably accessible and
                                                                                                 25   which NAF can locate and identify after a reasonable search.
                                                                                                 26

                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   REQUEST NO. 14: All Documents concerning each and every loan You sold
                                                                                                  2   after origination, including but not limited to any Documents reflecting or
                                                                                                  3   memorializing the transfer or sale of any interest in such loans.
                                                                                                  4

                                                                                                  5   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  6   burdensome. NAF also objects to this request as vague and ambiguous with
                                                                                                  7   respect to the terms “reflecting” and “memorializing.” NAF further objects to this
                                                                                                  8   request on the basis that it calls for documents that are not relevant to any party’s
                                                                                                  9   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Due to the foregoing objections, NAF will not be producing any
                                                                                                      documents in response to this request.
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                                                                                                 13

                                                                                                 14   REQUEST NO. 15: Documents reflecting each and every loan You endorsed
                                                                                                 15   under the Government Programs that has defaulted resulting in claims made on the
                                                                                                 16   Government.
                                                                                                 17

                                                                                                 18   OBJECTION: NAF objects to the request for “Documents reflecting each and
                                                                                                 19   every loan” as creating an undue burden, and will instead limit any production to
                                                                                                 20   relevant, non-privileged documents in its possession, custody, or control to the
                                                                                                 21   extent such documents are reasonably accessible and which NAF can locate after a
                                                                                                 22   reasonable search and review, and in a manner which is otherwise consistent with
                                                                                                 23   its legal obligations. NAF also objects to this request as vague and ambiguous
                                                                                                 24   with respect to the terms “reflecting” and “Government.” NAF also objects to this
                                                                                                 25   request to the extent that it is overly broad and calls for documents that are not
                                                                                                 26   relevant to any party’s claims or defenses, and it is not proportional to the needs of
                                                                                                 27   the case.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  3   produce loan files for FHA loans on which claims were paid by HUD and loan
                                                                                                  4   files for VA loans on which guarantees were paid by VA in its possession,
                                                                                                  5   custody, or control which are reasonably accessible and which NAF can locate and
                                                                                                  6   identify after a reasonable search.
                                                                                                  7

                                                                                                  8   REQUEST NO. 16: Documents reflecting the total number of claims made on
                                                                                                  9   the Government as a result of loans NAF endorsed under the Government
                                                                                                 10   Programs defaulting.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      OBJECTION: NAF objects to the request for “Documents reflecting the total
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                                                                                                 13   number of claims” as creating an undue burden, and will instead limit any
                                                                                                 14   production to relevant, non-privileged documents in its possession, custody, or
                                                                                                 15   control to the extent such documents are reasonably accessible and which NAF can
                                                                                                 16   locate after a reasonable search and review, and in a manner which is otherwise
                                                                                                 17   consistent with its legal obligations. NAF also objects to this request as vague and
                                                                                                 18   ambiguous with respect to the terms “reflecting” and “Government.” NAF also
                                                                                                 19   objects to this request to the extent that it is overly broad and calls for documents
                                                                                                 20   that are not relevant to any party’s claims or defenses, and it is not proportional to
                                                                                                 21   the needs of the case.
                                                                                                 22

                                                                                                 23   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 24   produce documents responsive to this request, to the extent they exist, that are in
                                                                                                 25   its possession, custody, or control, which are reasonably accessible, and which
                                                                                                 26   NAF can locate and identify after a reasonable search.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   REQUEST NO. 17: All training materials created or used by You to train
                                                                                                  2   employees in the areas of underwriting, origination, endorsement, and quality
                                                                                                  3   control of loans originated under the Government Programs, regardless of whether
                                                                                                  4   such employees held positions in underwriting, origination, endorsement, or
                                                                                                  5   quality control, or other functions, within NAF.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to the request for “All training materials” as creating
                                                                                                  8   an undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                  9   documents in its possession, custody, or control to the extent such documents are
                                                                                                 10   reasonably accessible and which NAF can locate after a reasonable search and
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                      NAF also objects to this request to the extent that it is overly broad and calls for
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                                                                                                 13   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 14   proportional to the needs of the case.
                                                                                                 15

                                                                                                 16   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 17   produce documents responsive to this request concerning FHA and VA loans
                                                                                                 18   which are in NAF’s possession, custody, or control, which are reasonably
                                                                                                 19   accessible, and which NAF can locate and identify after a reasonable search. See
                                                                                                 20   Bates Nos. NAF_QUI TAM_0000025402—NAF_QUI TAM_0000027407.
                                                                                                 21

                                                                                                 22   REQUEST NO. 18: All Documents concerning or discussing any commission-
                                                                                                 23   based compensation policies and/or practices, including but not limited Documents
                                                                                                 24   concerning and/or discussing the amounts of any bonuses or other compensation
                                                                                                 25   You paid to any employee in connection with the quantity of loan files approved
                                                                                                 26   for submission or endorsement to the Government.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  2   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  3   respect to the terms “commission-based,” “Government,” and “practices.” NAF
                                                                                                  4   also objects to this request to the extent that it calls for documents that are not
                                                                                                  5   relevant to any party’s claims or defenses, and it is not proportional to the needs of
                                                                                                  6   the case.
                                                                                                  7

                                                                                                  8   RESPONSE: Subject to and without waiving with the foregoing objections, NAF
                                                                                                  9   will produce its loan officer compensation policy. NAF underwriters, processors,
                                                                                                 10   and funders do not receive commission-based compensation.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      REQUEST NO. 19: All Documents concerning commissions or bonuses or other
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                                                                                                 13   compensation paid to NAF employees performing underwriting functions in
                                                                                                 14   connection with Government loans (regardless of whether such employees were
                                                                                                 15   employed as underwriters), including but not limited to: (a) the complete
                                                                                                 16   underwriting files for which the commission(s) and/or bonus(es) were paid; (b)
                                                                                                 17   Documents identifying: (i) each employee performing underwriting services to
                                                                                                 18   whom You paid commission(s) and/or bonus(es); and (ii) the amount(s) of such
                                                                                                 19   commission(s) and/or bonus(es) paid.
                                                                                                 20

                                                                                                 21   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 22   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 23   respect to the terms and phrases “commissions,” “complete underwriting files,”
                                                                                                 24   “underwriter functions,” “underwriting services,” and “Government loans.” NAF
                                                                                                 25   also objects to this request to the extent that it calls for documents that are not
                                                                                                 26   relevant to any party’s claims or defenses, and it is not proportional to the needs of
                                                                                                 27   the case. Furthermore, payroll records and communications regarding salaries for
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   NAF employees are not relevant to the claims and defenses in this action or
                                                                                                  2   proportional to the needs of the case, and therefore will not be produced.
                                                                                                  3

                                                                                                  4   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  5   states that only underwriters perform underwriting functions. NAF will produce
                                                                                                  6   an exemplar underwriter offer discussing underwriter compensation. Furthermore,
                                                                                                  7   any potentially responsive emails will be subject to phased production, following
                                                                                                  8   the determination of custodians and search terms, and the date of production will
                                                                                                  9   be determined by the agreement of the parties.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   REQUEST NO. 20: All Documents concerning or discussing Your management
                                                                                                      exception and/or management override policies and/or practices, as alleged in
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                                                                                                 13   Paragraphs 22(b), 237, 234-217 of the Amended Complaint.
                                                                                                 14

                                                                                                 15   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 16   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 17   respect to the terms and phrases “management exception,” “management
                                                                                                 18   override,” and “practices.” NAF also objects to this request to the extent that it
                                                                                                 19   calls for documents that are not relevant to any party’s claims or defenses, and it is
                                                                                                 20   not proportional to the needs of the case. NAF also objects to this request as it is
                                                                                                 21   not limited to FHA and VA loans.
                                                                                                 22

                                                                                                 23   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 24   understands this request to be seeking an admission as to whether “NAF has a
                                                                                                 25   management exception and/or management override policies and/or practices, as
                                                                                                 26   alleged in Paragraphs 22(b), 237, 234-217 of the Amended Complaint.” NAF
                                                                                                 27   disputes the legal characterization of this document request and is unaware of
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   documents responsive to it.
                                                                                                  2

                                                                                                  3   REQUEST NO. 21: All Documents discussing the circumstances under which
                                                                                                  4   NAF management would permit loans to be endorsed even if they did not meet the
                                                                                                  5   Government Programs’ requirements.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  8   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  9   respect to the phrase “Government Programs’ requirements.” NAF also objects to
                                                                                                 10   this request to the extent that it calls for documents that are not relevant to any
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   party’s claims or defenses, and it is not proportional to the needs of the case.
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                                                                                                 13   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 14   understands this request to be seeking an admission as to whether “NAF
                                                                                                 15   management would permit loans to be endorsed even if they did not meet the
                                                                                                 16   Government Programs’ requirements.” NAF disputes the legal characterization of
                                                                                                 17   this document request and is unaware of documents responsive to it.
                                                                                                 18

                                                                                                 19   REQUEST NO. 22: All Documents discussing NAF employees (including
                                                                                                 20   management employees) overriding adverse underwriting decisions and/or
                                                                                                 21   unfavorable credit decisions on Government loans that did not meet the
                                                                                                 22   Government Programs’ requirements.
                                                                                                 23

                                                                                                 24   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 25   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 26   respect to the terms and phrases “overriding,” “adverse underwriting decisions,”
                                                                                                 27   “unfavorable credit decisions,” “Government loans,” and “Government Programs’
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   requirements.” NAF also objects to this request to the extent that it calls for
                                                                                                  2   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  3   proportional to the needs of the case.
                                                                                                  4

                                                                                                  5   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  6   understands this request to be seeking an admission concerning “NAF employees
                                                                                                  7   (including management employees) overriding adverse underwriting decisions
                                                                                                  8   and/or unfavorable credit decisions on Government loans that did not meet the
                                                                                                  9   Government Programs’ requirements.” NAF disputes the legal characterization of
                                                                                                 10   this document request and is unaware of documents responsive to it.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      REQUEST NO. 23: Documents sufficient to show and identify each and every
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                                                                                                 13   Government loan that NAF employees (including management employees)
                                                                                                 14   approved that did not meet the Government Programs’ requirements.
                                                                                                 15

                                                                                                 16   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 17   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 18   respect to the terms and phrases “Government loan” and “Government Programs’
                                                                                                 19   requirements.” NAF also objects to this request to the extent that it calls for
                                                                                                 20   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 21   proportional to the needs of the case. NAF further objects to the request to the
                                                                                                 22   extent it calls for a legal conclusion as to whether a loan did not meet
                                                                                                 23   “Government Programs’ requirements.”
                                                                                                 24

                                                                                                 25   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 26   understands this request to be seeking an admission concerning “each and every
                                                                                                 27   Government loan that NAF employees (including management employees)
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
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                                                                                                  1   approved that did not meet the Government Programs’ requirements.” NAF
                                                                                                  2   disputes the legal characterization of this document request and is unaware of
                                                                                                  3   documents responsive to it.
                                                                                                  4

                                                                                                  5   REQUEST NO. 24: Documents concerning or discussing lists publicizing the
                                                                                                  6   number of loan files Processing Managers and/or their employees approved each
                                                                                                  7   month.
                                                                                                  8

                                                                                                  9   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 10   burdensome. NAF further objects to this request as vague and ambiguous with
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   respect to the terms “publicizing” and “approved.” NAF also objects to this
                                                                                                      request to the extent that it calls for documents that are not relevant to any party’s
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                                                                                                 13   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 14

                                                                                                 15   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 16   states that processing managers and processors do not approve loans. NAF is
                                                                                                 17   unaware of documents responsive to this request.
                                                                                                 18

                                                                                                 19   REQUEST NO. 25: All Documents concerning Government loan files that did
                                                                                                 20   not meet the Government Programs’ requirement that You endorsed to the
                                                                                                 21   Government through the management override process, including the underlying
                                                                                                 22   loan files.
                                                                                                 23

                                                                                                 24   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 25   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 26   respect to the terms and phrases “Government loan files,” “Government Programs’
                                                                                                 27   requirements,” and “management override process.” NAF also objects to this
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   request to the extent that it calls for documents that are not relevant to any party’s
                                                                                                  2   claims or defenses, and it is not proportional to the needs of the case. NAF further
                                                                                                  3   objects to the request to the extent it calls for a legal conclusion as to whether a
                                                                                                  4   loan file did not meet “Government Programs’ requirements.”
                                                                                                  5

                                                                                                  6   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  7   understands this request to be seeking an admission concerning “Government loan
                                                                                                  8   files that did not meet the Government Programs’ requirement that [NAF]
                                                                                                  9   endorsed to the Government through the management override process.” NAF
                                                                                                 10   disputes the legal characterization of this document request and is unaware of
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   documents responsive to it.
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                                                                                                 13   REQUEST NO. 26: All Documents concerning or discussing Your employees’
                                                                                                 14   attempts to avoid initial rejections by underwriting and subsequent appeals by loan
                                                                                                 15   officers of non-qualifying loan files.
                                                                                                 16

                                                                                                 17   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 18   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 19   respect to the terms and phrases “initial rejections,” “appeals,” and “non-qualifying
                                                                                                 20   loan files.” NAF also objects to this request to the extent that it calls for
                                                                                                 21   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 22   proportional to the needs of the case.
                                                                                                 23

                                                                                                 24   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 25   understands this request to be seeking an admission of NAF “employees’ attempts
                                                                                                 26   to avoid initial rejections by underwriting and subsequent appeals by loan officers
                                                                                                 27   of non-qualifying loan files.” NAF disputes the legal characterization of this
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
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                                                                                                  1   document request and is unaware of documents responsive to it.
                                                                                                  2

                                                                                                  3   REQUEST NO. 27: All Documents concerning or discussing the approval of
                                                                                                  4   loan files that did not meet the Government Programs’ underwriting guidelines or
                                                                                                  5   the Government Programs’ requirements.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  8   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  9   respect to the terms and phrases “approval,” “loan files,” “Government Programs’
                                                                                                 10   underwriting guidelines” and “Government Programs’ requirements.” NAF also
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   objects to this request to the extent that it calls for documents that are not relevant
                                                                                                      to any party’s claims or defenses, and it is not proportional to the needs of the case.
WEINER BRODSKY KIDER PC




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                                                                                                 13   NAF further objects to the request to the extent it calls for a legal conclusion as to
                                                                                                 14   whether a loan file did not meet “Government Programs’ underwriting guidelines
                                                                                                 15   or the Government Programs’ requirements.”
                                                                                                 16

                                                                                                 17   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 18   understands this request to be seeking an admission of “the approval of loan files
                                                                                                 19   that did not meet the Government Programs’ underwriting guidelines or the
                                                                                                 20   Government Programs’ requirements.” NAF disputes the legal characterization of
                                                                                                 21   this document request and is unaware of documents responsive to it.
                                                                                                 22

                                                                                                 23   REQUEST NO. 28: All performance reviews for: (a) Loan Officer Managers and
                                                                                                 24   (b) Processing Managers, including Kevin English and Michael Garcia.
                                                                                                 25

                                                                                                 26

                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
                                                                                                                                                                        Case No. 19-cv-01630-PSG
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                                                                                                  1   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  2   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  3   respect to the term “performance reviews.” NAF also objects to this request on the
                                                                                                  4   basis that it calls for documents that are not relevant to any party’s claims or
                                                                                                  5   defenses, and it is not proportional to the needs of the case.
                                                                                                  6

                                                                                                  7   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  8   produce documents responsive to this request that are within its possession,
                                                                                                  9   custody, or control, which are reasonably accessible, and which NAF can locate
                                                                                                 10   and identify after a reasonable search.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      REQUEST NO. 29: All Documents concerning Your internal property appraisal
WEINER BRODSKY KIDER PC




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                                                                                                 13   policies.
                                                                                                 14

                                                                                                 15   OBJECTION: NAF objects to the request for “all” documents as overly broad
                                                                                                 16   and creating an undue burden, and will instead limit any production to relevant,
                                                                                                 17   non-privileged documents in its possession, custody, or control to the extent such
                                                                                                 18   documents are reasonably accessible and which NAF can locate after a reasonable
                                                                                                 19   search and review, and in a manner which is otherwise consistent with its legal
                                                                                                 20   obligations. NAF also objects to this request as it is not limited to property
                                                                                                 21   appraisal policies concerning FHA and VA loans.
                                                                                                 22

                                                                                                 23   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 24   produce its internal property appraisal policies which may concern FHA and VA
                                                                                                 25   loans, that are within its possession, custody, or control, which are reasonably
                                                                                                 26   accessible, and which NAF can locate and identify after a reasonable search. See
                                                                                                 27   Bates Nos. NAF_QUI TAM_0000027408—NAF_QUI TAM_0000027738.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   REQUEST NO. 30: All Documents concerning or referring to NAF or its
                                                                                                  3   employees taking any steps to increase or modify the appraised value of properties,
                                                                                                  4   including by making “value appeals” to appraisers or interfering in any way with
                                                                                                  5   the work of appraisers, and the corresponding appraisals.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  8   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  9   respect to the terms “value appeals” and “interfering.” NAF also objects to this
                                                                                                 10   request to the extent that it calls for documents that are not relevant to any party’s
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   claims or defenses, and it is not proportional to the needs of the case.
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                                                                                                 12

                                                                                                 13   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 14   understands this request to be seeking an admission of “NAF or its employees
                                                                                                 15   taking any steps to increase or modify the appraised value of properties, including
                                                                                                 16   by making ‘value appeals’ to appraisers or interfering in any way with the work of
                                                                                                 17   appraisers.” NAF disputes the legal characterization of this document request and
                                                                                                 18   is unaware of documents responsive to it.
                                                                                                 19
                                                                                                 20   REQUEST NO. 31: All Documents concerning NAF loan officers and/or their
                                                                                                 21   assistants’ communications with appraisers (or the employer(s) of such appraisers)
                                                                                                 22   who were performing the appraisals necessary for Government loans.
                                                                                                 23

                                                                                                 24   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 25   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 26   respect to the term “Government loans.” NAF also objects to this request to the
                                                                                                 27   extent that it calls for documents that are not relevant to any party’s claims or
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   defenses, and it is not proportional to the needs of the case.
                                                                                                  2

                                                                                                  3   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                  4   in good faith to discuss this request to better understand what information Relator
                                                                                                  5   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                  6   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                  7   phased production, following the determination of custodians and search terms,
                                                                                                  8   and the date of production will be determined by the agreement of the parties.
                                                                                                  9
                                                                                                 10   REQUEST NO. 32: All Documents concerning actual or potential commissions,
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   bonuses, or other compensation paid or made available to loan officers in
                                                                                                      connection with appraisal values obtained.
WEINER BRODSKY KIDER PC




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                                                                                                 13

                                                                                                 14   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 15   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 16   respect to the terms and phrases “actual or potential” and “commissions.” NAF
                                                                                                 17   also objects to this request on the basis that it calls for documents that are not
                                                                                                 18   relevant to any party’s claims or defenses, and it is not proportional to the needs of
                                                                                                 19   the case. Furthermore, payroll records and communications regarding salaries for
                                                                                                 20   NAF employees are not relevant to the claims and defenses in this action or
                                                                                                 21   proportional to the needs of the case, and therefore will not be produced. NAF
                                                                                                 22   also objects to this request on the basis that it is duplicative of Document Request
                                                                                                 23   No. 18.
                                                                                                 24

                                                                                                 25   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 26   states that it is unaware of documents responsive to this request.
                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   REQUEST NO. 33: All Documents concerning loan officers physically attending
                                                                                                  2   appraisals or otherwise being present at the property at the same time as the
                                                                                                  3   appraiser, and the corresponding appraisals.
                                                                                                  4

                                                                                                  5   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  6   burdensome. NAF also objects to this request to the extent that it calls for
                                                                                                  7   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  8   proportional to the needs of the case.
                                                                                                  9
                                                                                                 10   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   in good faith to discuss this request to better understand what information Relator
                                                                                                      is seeking and the reason why it is sought, and to reevaluate a more targeted and
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                                                                                                 13   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 14   phased production, following the determination of custodians and search terms,
                                                                                                 15   and the date of production will be determined by the agreement of the parties.
                                                                                                 16

                                                                                                 17   REQUEST NO. 34: All Documents concerning loan officers: (a) selecting
                                                                                                 18   appraisers; (b) commenting on appraiser’s appraisals; and/or (c) criticizing
                                                                                                 19   appraisers and/or the outcome of appraisals.
                                                                                                 20

                                                                                                 21   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 22   burdensome. NAF also objects to this request to the extent that it calls for
                                                                                                 23   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 24   proportional to the needs of the case.
                                                                                                 25

                                                                                                 26   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 27   states that it is unaware of documents concerning loan officers selecting appraisers.
                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1   NAF is willing to meet-and-confer in good faith to discuss the remainder of this
                                                                                                  2   request to better understand what information Relator is seeking and the reason
                                                                                                  3   why it is sought, and to reevaluate a more targeted and reasonable request. Any
                                                                                                  4   potentially responsive documents will also be subject to phased production,
                                                                                                  5   following the determination of custodians and search terms, and the date of
                                                                                                  6   production will be determined by the agreement of the parties.
                                                                                                  7

                                                                                                  8   REQUEST NO. 35: All Documents concerning and/or reflecting comments
                                                                                                  9   recorded on NAF’s appraisal vendor’s website concerning appraisals and/or
                                                                                                 10   appraisers.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      OBJECTION: NAF objects to the request for “all” documents as overly broad
WEINER BRODSKY KIDER PC




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                                                                                                 13   and creating an undue burden, and will instead limit any production to relevant,
                                                                                                 14   non-privileged documents in its possession, custody, or control to the extent such
                                                                                                 15   documents are reasonably accessible and which NAF can locate after a reasonable
                                                                                                 16   search and review, and in a manner which is otherwise consistent with its legal
                                                                                                 17   obligations. NAF further objects to this request to the extent it seeks documents
                                                                                                 18   concerning FHA and VA loans for which no claims were paid, as they are not
                                                                                                 19   relevant to any party’s claims or defenses and are not proportional to the needs of
                                                                                                 20   the case.
                                                                                                 21

                                                                                                 22   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                 23   in good faith to discuss this request to better understand what information Relator
                                                                                                 24   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                 25   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 26   phased production, following the determination of documents that are within its
                                                                                                 27   possession, custody, or control, which are reasonably accessible, and which NAF
                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1   can locate and identify after a reasonable search.
                                                                                                  2

                                                                                                  3   REQUEST NO. 36: All Documents concerning and/or reflecting NAF personnel
                                                                                                  4   contacting appraisers (or their employer(s)) concerning the value of an appraisal.
                                                                                                  5

                                                                                                  6   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  7   burdensome. NAF also objects to this request to the extent that it calls for
                                                                                                  8   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  9   proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                      in good faith to discuss this request to better understand what information Relator
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                                                                                                 13   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                 14   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                 15   phased production, following the determination of custodians and search terms,
                                                                                                 16   and the date of production will be determined by the agreement of the parties.
                                                                                                 17

                                                                                                 18   REQUEST NO. 37: All Documents concerning NAF loan officers using, or
                                                                                                 19   seeking to use, appraisers who would value the property at the levels the loan
                                                                                                 20   officers set for the value appeals.
                                                                                                 21

                                                                                                 22   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 23   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 24   respect to the term “value appeals.” NAF also objects to this request to the extent
                                                                                                 25   that it calls for documents that are not relevant to any party’s claims or defenses,
                                                                                                 26   and it is not proportional to the needs of the case.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  2   understands this request to be seeking an admission of “NAF loan officers using,
                                                                                                  3   or seeking to use, appraisers who would value the property at the levels the loan
                                                                                                  4   officers set for the value appeals.” NAF disputes the legal characterization of this
                                                                                                  5   document request and is unaware of documents responsive to it.
                                                                                                  6

                                                                                                  7   REQUEST NO. 38: All Documents concerning Your policies and/or practices
                                                                                                  8   concerning the use of borrower data in the AUS/TOTAL system.
                                                                                                  9
                                                                                                 10   OBJECTION: NAF objects to the request for “all” documents as overly broad
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   and creating an undue burden, and will instead limit any production to relevant,
                                                                                                      non-privileged documents in its possession, custody, or control to the extent such
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                                                                                                 13   documents are reasonably accessible and which NAF can locate after a reasonable
                                                                                                 14   search and review, and in a manner which is otherwise consistent with its legal
                                                                                                 15   obligations. NAF further objects to this request as vague and ambiguous with
                                                                                                 16   respect to the term “practices.” NAF also objects to this request to the extent that
                                                                                                 17   it calls for documents that are not relevant to any party’s claims or defenses, and it
                                                                                                 18   is not proportional to the needs of the case.
                                                                                                 19
                                                                                                 20   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 21   produce its underwriting policies and procedures which may concern FHA and VA
                                                                                                 22   loans, that are within its possession, custody, or control, which are reasonably
                                                                                                 23   accessible, and which NAF can locate and identify after a reasonable search. See
                                                                                                 24   Bates Nos. NAF_QUI TAM_0000027739—NAF_QUI TAM_0000029356
                                                                                                 25

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                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   REQUEST NO. 39: All Documents concerning or discussing Your employees’
                                                                                                  2   practices of modifying or manipulating variables in the AUS/TOTAL system after
                                                                                                  3   receiving a “refer/caution” rating to identify the variable(s) that would result in an
                                                                                                  4   “accept/approve” rating, as alleged in Paragraphs 22(d), 206(d), 347-365 of the
                                                                                                  5   Amended Complaint.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  8   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  9   respect to the terms “modifying,” “manipulating,” “practices,” and “variable(s).”
                                                                                                 10   NAF further objects to the request to the extent it calls for a legal conclusion as to
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   the meaning of “modifying” or “manipulating” in this request. NAF also objects
                                                                                                      to this request to the extent that it calls for documents that are not relevant to any
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                                                                                                 13   party’s claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 14

                                                                                                 15   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 16   understands this request to be seeking an admission of NAF “employees’ practices
                                                                                                 17   of modifying or manipulating variables in the AUS/TOTAL system after receiving
                                                                                                 18   a ‘refer/caution’ rating to identify the variable(s) that would result in an
                                                                                                 19   ‘accept/approve’ rating, as alleged in Paragraphs 22(d), 206(d), 347-365 of the
                                                                                                 20   Amended Complaint.” NAF disputes the legal characterization of this document
                                                                                                 21   request and is unaware of documents responsive to it.
                                                                                                 22

                                                                                                 23   REQUEST NO. 40: All Documents concerning or discussing Your employees’
                                                                                                 24   practices of reverse engineering loan approvals by modifying or manipulating the
                                                                                                 25   variable(s) in the AUS/TOTAL system after receiving a “refer/caution” rating to
                                                                                                 26   identify the variable(s) that would result in an “accept/approve” rating, as alleged
                                                                                                 27   in Paragraphs 361-363 of the Amended Complaint.
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                                                  #:2634


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                                                                                                  2   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  3   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  4   respect to the terms and phrases “practices,” “reverse engineering,” “variable(s),”
                                                                                                  5   “modifying” or “manipulating.” NAF further objects to the request to the extent it
                                                                                                  6   calls for a legal conclusion as to the meaning of “modifying” or “manipulating” in
                                                                                                  7   this request. NAF also objects to this request to the extent that it calls for
                                                                                                  8   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  9   proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                      understands this request to be seeking an admission of NAF “employees’ practices
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                                                                                                 13   of reverse engineering loan approvals by modifying or manipulating the variable(s)
                                                                                                 14   in the AUS/TOTAL system after receiving a ‘refer/caution’ rating to identify the
                                                                                                 15   variable(s) that would result in an ‘accept/approve’ rating, as alleged in Paragraphs
                                                                                                 16   361-363 of the Amended Complaint.” NAF disputes the legal characterization of
                                                                                                 17   this document request and is unaware of documents responsive to it.
                                                                                                 18

                                                                                                 19   REQUEST NO. 41: Internal File No. 120016109350, and all documents
                                                                                                 20   concerning or discussing this file.
                                                                                                 21

                                                                                                 22   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 23   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 24   documents in its possession, custody, or control within its loan origination system
                                                                                                 25   to the extent such documents are reasonably accessible and which NAF can locate
                                                                                                 26   after a reasonable search and review, and in a manner which is otherwise
                                                                                                 27   consistent with its legal obligations. NAF also objects to this request to the extent
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   that it is overly broad and calls for documents that are not relevant to any party’s
                                                                                                  2   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                  3

                                                                                                  4   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  5   produce the loan file for this file number in its possession, custody, or control
                                                                                                  6   which is reasonably accessible and which NAF can locate and identify after a
                                                                                                  7   reasonable search. See Bates Nos. NAF_QUI TAM_0000029357—NAF_QUI
                                                                                                  8   TAM_0000030778.
                                                                                                  9
                                                                                                 10   REQUEST NO. 42: All Documents concerning Your policies and practices
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   concerning calculating a borrower’s income, bonuses and overtime earnings.
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                                                                                                 13   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 14   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 15   documents in its possession, custody, or control to the extent such documents are
                                                                                                 16   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 17   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 18   NAF also objects to this request as vague and ambiguous with respect to the terms
                                                                                                 19   and phrases “practices” and “income, bonuses and overtime earnings.” NAF also
                                                                                                 20   objects to this request to the extent that it is overly broad and calls for documents
                                                                                                 21   that are not relevant to any party’s claims or defenses, and it is not proportional to
                                                                                                 22   the needs of the case.
                                                                                                 23

                                                                                                 24   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 25   produce its underwriting policies and procedures which may concern FHA and VA
                                                                                                 26   loans, that are within its possession, custody, or control, which are reasonably
                                                                                                 27   accessible, and which NAF can locate and identify after a reasonable search. See
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   Bates Nos. NAF_QUI TAM_0000027739—NAF_QUI TAM_0000029356.
                                                                                                  2

                                                                                                  3   REQUEST NO. 43: All Documents concerning or referring to NAF employees
                                                                                                  4   (including management employees) modifying or manipulating borrowers’
                                                                                                  5   overtime and/or bonus income figures to increase the likelihood of loan approval,
                                                                                                  6   including but not limited to: (a) using the borrower’s present earnings as his/her
                                                                                                  7   “historical” earnings; (b) extrapolating the borrower’s income for the following
                                                                                                  8   two years based on his/her current earnings, and all related loan files; (c) not
                                                                                                  9   properly averaging a borrower’s bonus and overtime earnings over the required
                                                                                                 10   regulatory time period; (d) using the historical earnings, overtime, and year-end
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                                                                                                 11   bonuses of tomato pickers in California; (e) using one-time bonuses as part of the
                                                                                                      borrower’s earnings; and/or (f) using bonuses that had not yet been earned as part
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                                                                                                 13   of the borrower’s income, and the related loan files.
                                                                                                 14

                                                                                                 15   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 16   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 17   respect to the phrases and terms “modifying,” “manipulating,” “loan approval,”
                                                                                                 18   “present earnings,” “‘historical’ earnings,” “current earnings,” “required regulatory
                                                                                                 19   time period,” and “loan files.” NAF also objects to the request to the extent it
                                                                                                 20   calls for a legal conclusion as to the meaning of “modifying” or “manipulating” in
                                                                                                 21   this request. NAF further objects to this request to the extent that it calls for
                                                                                                 22   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 23   proportional to the needs of the case. NAF also objects to this request on the basis
                                                                                                 24   that it is overly broad and unduly burdensome to the extent it seeks files for loans
                                                                                                 25   to which no claims were paid by FHA or VA, as they are not relevant to any
                                                                                                 26   party’s claims or defenses and they are not proportional to the needs of the case.
                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
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                                                                                                  1

                                                                                                  2   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  3   understands this request to be seeking an admission of “NAF employees (including
                                                                                                  4   management employees) modifying or manipulating borrowers’ overtime and/or
                                                                                                  5   bonus income figures to increase the likelihood of loan approval, including but not
                                                                                                  6   limited to: (a) using the borrower’s present earnings as his/her ‘historical’
                                                                                                  7   earnings; (b) extrapolating the borrower’s income for the following two years
                                                                                                  8   based on his/her current earnings, and all related loan files; (c) not properly
                                                                                                  9   averaging a borrower’s bonus and overtime earnings over the required regulatory
                                                                                                 10   time period; (d) using the historical earnings, overtime, and year-end bonuses of
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   tomato pickers in California; (e) using one-time bonuses as part of the borrower’s
                                                                                                      earnings; and/or (f) using bonuses that had not yet been earned as part of the
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                                                                                                 13   borrower’s income, and the related loan files.” NAF disputes the legal
                                                                                                 14   characterization of this document request and is unaware of documents responsive
                                                                                                 15   to it.
                                                                                                 16

                                                                                                 17   REQUEST NO. 44: All Documents concerning using the borrower’s “rolling 24
                                                                                                 18   months” income, as alleged in the Amended Complaint, and the related loan files.
                                                                                                 19
                                                                                                 20   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 21   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 22   respect to the phrases and terms “rolling 24 months’ income” and “loan files.”
                                                                                                 23   NAF also objects to this request to the extent that it calls for documents that are
                                                                                                 24   not relevant to any party’s claims or defenses, and it is not proportional to the
                                                                                                 25   needs of the case. NAF also objects to this request on the basis that it is overly
                                                                                                 26   broad and unduly burdensome to the extent it seeks files for loans to which no
                                                                                                 27   claims were paid by FHA or VA, as they are not relevant to any party’s claims or
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   defenses and they are not proportional to the needs of the case.
                                                                                                  2

                                                                                                  3   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  4   understands this request to be seeking an admission of NAF “using the borrower’s
                                                                                                  5   ‘rolling 24 months’ income, as alleged in the Amended Complaint.” NAF disputes
                                                                                                  6   the legal characterization of this document request and is unaware of documents
                                                                                                  7   responsive to it.
                                                                                                  8

                                                                                                  9   REQUEST NO. 45: Your policies and practices concerning the calculation of
                                                                                                 10   borrowers’ total debt-to income ratio and borrowers’ payment-to-income ratio.
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11
                                                                                                      OBJECTION: NAF objects to the request for “all” documents as creating an
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                                                                                                 13   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 14   documents in its possession, custody, or control to the extent such documents are
                                                                                                 15   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                 16   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 17   NAF further objects to this request as vague and ambiguous with respect to the
                                                                                                 18   terms and phrases “borrowers’ total debt-to-income ratio,” “borrowers’ payment-
                                                                                                 19   to-income ratio,” and “practices.” NAF also objects to this request to the extent
                                                                                                 20   that it is overly broad and calls for documents that are not relevant to any party’s
                                                                                                 21   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 22

                                                                                                 23   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 24   produce its underwriting policies and procedures which may concern FHA and VA
                                                                                                 25   loans, that are within its possession, custody, or control, which are reasonably
                                                                                                 26   accessible, and which NAF can locate and identify after a reasonable search. See
                                                                                                 27   Bates Nos. NAF_QUI TAM_0000027739—NAF_QUI TAM_0000029356.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  2   REQUEST NO. 46: Internal File 137316088706, and all documents concerning
                                                                                                  3   or discussing this file.
                                                                                                  4

                                                                                                  5   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                  6   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                  7   documents in its possession, custody, or control within its loan origination system
                                                                                                  8   to the extent such documents are reasonably accessible and which NAF can locate
                                                                                                  9   after a reasonable search and review, and in a manner which is otherwise
                                                                                                 10   consistent with its legal obligations. NAF also objects to this request to the extent
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                                                                                                 11   that it is overly broad and calls for documents that are not relevant to any party’s
                                                                                                      claims or defenses, and it is not proportional to the needs of the case.
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                                                                                                 14   RESPONSE: Subject to and consistent with the foregoing objections, see NAF’s
                                                                                                 15   response to Document Request No. 8.
                                                                                                 16

                                                                                                 17   REQUEST NO. 47: All Documents concerning NAF employees (including
                                                                                                 18   management employees) waiving borrowers’ debt obligations that were required to
                                                                                                 19   be calculated in the debt-to-income ratios for Government loans.
                                                                                                 20

                                                                                                 21   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 22   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 23   respect to the terms and phrases “waiving,” “Government loans,” “debt-to-income
                                                                                                 24   ratios,” and “debt obligations.” NAF also objects to this request to the extent that
                                                                                                 25   it calls for documents that are not relevant to any party’s claims or defenses, and it
                                                                                                 26   is not proportional to the needs of the case.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  3   understands this request to be seeking an admission of “NAF employees (including
                                                                                                  4   management employees) waiving borrowers’ debt obligations that were required to
                                                                                                  5   be calculated in the debt-to-income ratios for Government loans.” NAF disputes
                                                                                                  6   the legal characterization of this document request and is unaware of documents
                                                                                                  7   responsive to it.
                                                                                                  8

                                                                                                  9   REQUEST NO. 48: All Documents concerning NAF employees (including
                                                                                                 10   management employees) excluding known debts from borrowers’ debt-to-income
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   analyses.
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                                                                                                 13   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 14   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 15   respect to the terms “excluding” and “known debts.” NAF also objects to this
                                                                                                 16   request to the extent that it calls for documents that are not relevant to any party’s
                                                                                                 17   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 18

                                                                                                 19   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 20   understands this request to be seeking an admission of “NAF employees (including
                                                                                                 21   management employees) excluding known debts from borrowers’ debt-to-income
                                                                                                 22   analyses.” NAF disputes the legal characterization of this document request and is
                                                                                                 23   unaware of documents responsive to it.
                                                                                                 24

                                                                                                 25   REQUEST NO. 49: All Documents concerning or relating to borrowers’ debt
                                                                                                 26   obligations that You waived when calculating debt-to-income ratios for
                                                                                                 27   Government loans, including but not limited to soft credit reports and/or
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   documents reflecting borrowers’ total monthly debt obligations.
                                                                                                  2

                                                                                                  3   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  4   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  5   respect to the phrases and terms “waived,” “debt-to-income ratios,” “debt
                                                                                                  6   obligations,” “soft credit reports,” “total monthly debt obligations,” and
                                                                                                  7   “Government loans.” NAF also objects to this request to the extent that it calls for
                                                                                                  8   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  9   proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                      understands this request to be seeking an admission of “borrowers’ debt
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                                                                                                 13   obligations that [NAF] waived when calculating debt-to-income ratios for
                                                                                                 14   Government loans, including but not limited to soft credit reports and/or
                                                                                                 15   documents reflecting borrowers’ total monthly debt obligations.” NAF disputes
                                                                                                 16   the legal characterization of this document request and is unaware of documents
                                                                                                 17   responsive to it.
                                                                                                 18

                                                                                                 19   REQUEST NO. 50: All Documents concerning debts You excluded from the
                                                                                                 20   calculation of the debt-to-income ratio on the basis that such debts were considered
                                                                                                 21   excludable contingent liabilities.
                                                                                                 22

                                                                                                 23   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 24   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 25   respect to the phrases and terms “excluded,” “debts,” “debt-to-income ratio,” and
                                                                                                 26   “excludable contingent liabilities.” NAF also objects to this request to the extent
                                                                                                 27   that it calls for documents that are not relevant to any party’s claims or defenses,
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
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                                                                                                  1   and it is not proportional to the needs of the case.
                                                                                                  2

                                                                                                  3   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                  4   in good faith to discuss this request to better understand what information Relator
                                                                                                  5   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                  6   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                  7   phased production, following the determination of custodians and search terms,
                                                                                                  8   and the date of production will be determined by the agreement of the parties.
                                                                                                  9
                                                                                                 10   REQUEST NO. 51: FHA Loan No. 198-05858356-703, and all documents
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   concerning or discussing this file.
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                                                                                                 13   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                 14   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                 15   documents in its possession, custody, or control within its loan origination system
                                                                                                 16   to the extent such documents are reasonably accessible and which NAF can locate
                                                                                                 17   after a reasonable search and review, and in a manner which is otherwise
                                                                                                 18   consistent with its legal obligations. NAF also objects to this request to the extent
                                                                                                 19   that it is overly broad and calls for documents that are not relevant to any party’s
                                                                                                 20   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 21

                                                                                                 22   RESPONSE: Subject to and consistent with the foregoing objections, this FHA
                                                                                                 23   loan number appears to be incorrect and NAF has no documents responsive to this
                                                                                                 24   request.
                                                                                                 25

                                                                                                 26   REQUEST NO. 52: FHA File No. 1198-0870544-734, and all documents
                                                                                                 27   concerning or discussing this file.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  2   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                  3   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                  4   documents in its possession, custody, or control within its loan origination system
                                                                                                  5   to the extent such documents are reasonably accessible and which NAF can locate
                                                                                                  6   after a reasonable search and review, and in a manner which is otherwise
                                                                                                  7   consistent with its legal obligations. NAF also objects to this request to the extent
                                                                                                  8   that it is overly broad and calls for documents that are not relevant to any party’s
                                                                                                  9   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Subject to and consistent with the foregoing objections, this FHA
                                                                                                      loan number appears to be incorrect and NAF has no documents responsive to this
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                                                                                                 12

                                                                                                 13   request.
                                                                                                 14

                                                                                                 15   REQUEST NO. 53: All Documents reflecting Your audit findings.
                                                                                                 16

                                                                                                 17   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 18   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 19   respect to the terms “reflecting” and “audit findings.” NAF also objects to this
                                                                                                 20   request to the extent that it calls for documents that are not relevant to any party’s
                                                                                                 21   claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 22

                                                                                                 23   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 24   produce documents responsive to this request concerning FHA and VA loans that
                                                                                                 25   are within its possession, custody, or control, which are reasonably accessible, and
                                                                                                 26   which NAF can locate and identify after a reasonable search.
                                                                                                 27

                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  2   REQUEST NO. 54: All Documents reflecting Your quality control mechanisms,
                                                                                                  3   processes, audits, practices and programs.
                                                                                                  4

                                                                                                  5   OBJECTION: NAF objects to the request for “all” documents as creating an
                                                                                                  6   undue burden, and will instead limit any production to relevant, non-privileged
                                                                                                  7   documents in its possession, custody, or control to the extent such documents are
                                                                                                  8   reasonably accessible and which NAF can locate after a reasonable search and
                                                                                                  9   review, and in a manner which is otherwise consistent with its legal obligations.
                                                                                                 10   NAF further objects to this request as vague and ambiguous with respect to the
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   phrases and terms “reflecting,” “quality control mechanisms,” “audits,”
                                                                                                      “practices,” and “programs.” NAF also objects to this request to the extent that it
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                                                                                                 13   is overly broad and calls for documents that are not relevant to any party’s claims
                                                                                                 14   or defenses, and it is not proportional to the needs of the case.
                                                                                                 15

                                                                                                 16   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                 17   produce documents responsive to this request that are within its possession,
                                                                                                 18   custody, or control, which are reasonably accessible, and which NAF can locate
                                                                                                 19   and identify after a reasonable search.
                                                                                                 20

                                                                                                 21   REQUEST NO. 55: All Documents concerning or referring to NAF employees
                                                                                                 22   (including management employees) implementing a policy of withholding from
                                                                                                 23   the Government known underwriting deficiencies, inaccuracies, and errors in
                                                                                                 24   completed loan files subsequently discovered by Your quality control auditors.
                                                                                                 25

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                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                  2   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                  3   respect to the terms and phrases “Government,” “known underwriting deficiencies,
                                                                                                  4   inaccuracies, and errors,” and “completed loan files.” NAF further objects to the
                                                                                                  5   request to the extent it calls for a legal conclusion as to the meaning of “known
                                                                                                  6   underwriting deficiencies, inaccuracies, and errors” in this request. NAF also
                                                                                                  7   objects to this request to the extent that it calls for documents that are not relevant
                                                                                                  8   to any party’s claims or defenses, and it is not proportional to the needs of the case.
                                                                                                  9
                                                                                                 10   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   understands this request to be seeking an admission of “NAF employees (including
                                                                                                      management employees) implementing a policy of withholding from the
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                                                                                                 13   Government known underwriting deficiencies, inaccuracies, and errors in
                                                                                                 14   completed loan files subsequently discovered by Your quality control auditors.”
                                                                                                 15   NAF disputes the legal characterization of this document request and is unaware of
                                                                                                 16   a policy responsive to it.
                                                                                                 17

                                                                                                 18   REQUEST NO. 56: All Documents concerning fraud and/or other underwriting
                                                                                                 19   deficiencies identified by Your quality control auditors, which were ignored by
                                                                                                 20   NAF.
                                                                                                 21

                                                                                                 22   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 23   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 24   respect to the terms and phrases “fraud and/or other underwriting deficiencies” and
                                                                                                 25   “ignored.” NAF objects to the request to the extent it calls for a legal conclusion
                                                                                                 26   as to the meaning of “fraud and/or other underwriting deficiencies” in this request.
                                                                                                 27   NAF also objects to this request to the extent that it calls for documents that are
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   not relevant to any party’s claims or defenses, and it is not proportional to the
                                                                                                  2   needs of the case.
                                                                                                  3

                                                                                                  4   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  5   understands this request to be seeking an admission of “fraud and/or other
                                                                                                  6   underwriting deficiencies identified by Your quality control auditors, which were
                                                                                                  7   ignored by NAF.” NAF disputes the legal characterization of this document
                                                                                                  8   request and is unaware of documents responsive to it.
                                                                                                  9
                                                                                                 10   REQUEST NO. 57: All Documents concerning and/or discussing NAF: (a)
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   ignoring audit results and/or findings; (b) acting as if Government loans did not
                                                                                                      have any deficiencies and/or (c) ignoring fraud and/or deficiencies You found in
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                                                                                                 13   Your underwriting of Government loans.
                                                                                                 14

                                                                                                 15   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 16   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 17   respect to the terms and phrases “ignoring,” “audit results and/or findings,”
                                                                                                 18   “Government loans,” “fraud and/or underwriting deficiencies,” and “deficiencies.”
                                                                                                 19   NAF objects to the request to the extent it calls for a legal conclusion as to the
                                                                                                 20   meaning of “fraud and/or underwriting deficiencies” or “deficiencies” in this
                                                                                                 21   request. NAF also objects to this request to the extent that it calls for documents
                                                                                                 22   that are not relevant to any party’s claims or defenses, and it is not proportional to
                                                                                                 23   the needs of the case.
                                                                                                 24

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                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
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                                                                                                  1   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                  2   understands this request to be seeking an admission of NAF “(a) ignoring audit
                                                                                                  3   results and/or findings; (b) acting as if Government loans did not have any
                                                                                                  4   deficiencies and/or (c) ignoring fraud and/or deficiencies.” NAF disputes the legal
                                                                                                  5   characterization of this document request and is unaware of documents responsive
                                                                                                  6   to it.
                                                                                                  7

                                                                                                  8   REQUEST NO. 58: All Documents concerning or discussing the consent
                                                                                                  9   judgments and/or stipulations of settlement with Government Lenders accused of
                                                                                                 10   violating critical underwriting criteria required by the HUD-FHA and/or the VA,
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   including but not limited to: (a) Bank of America Corp., J.P. Morgan Chase & Co.,
                                                                                                      Wells Fargo & Co., Citigroup Inc., and Ally Financial, Inc., on or around March
WEINER BRODSKY KIDER PC




                                                                                                 12

                                                                                                 13   12, 2012; (b) General Electric, on or around April 12, 2019; (c) Wells Fargo Bank,
                                                                                                 14   N.A., on or around April 8, 2016; (d) SunTrust Mortgage, Inc., on or around
                                                                                                 15   September 30, 2014; (e) J.P. Morgan Chase Bank, N.A., on or around February 5,
                                                                                                 16   2014; (f) Allquest Home Mortgage Corp., on or around September 29, 2017; (g)
                                                                                                 17   Flagstar Bank, F.S.B., on or around February 24, 2012; (h) M&T Bank, on or
                                                                                                 18   around May 9, 2016; (i) Finance of America Mortgage LLC, on or around
                                                                                                 19   December 11, 2018; and (j) TXL Mortgage Corp., on or around September 20,
                                                                                                 20   2016.
                                                                                                 21

                                                                                                 22   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 23   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 24   respect to the terms and phrases “violating” and “critical underwriting criteria.”
                                                                                                 25   NAF also objects to this request to the extent that it calls for documents that are
                                                                                                 26   not relevant to any party’s claims or defenses, and it is not proportional to the
                                                                                                 27   needs of the case.
                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1

                                                                                                  2   RESPONSE: Due to the foregoing objections, NAF is willing to meet-and-confer
                                                                                                  3   in good faith to discuss this request to better understand what information Relator
                                                                                                  4   is seeking and the reason why it is sought, and to reevaluate a more targeted and
                                                                                                  5   reasonable request. Any potentially responsive documents will also be subject to
                                                                                                  6   phased production, following the determination of custodians and search terms,
                                                                                                  7   and the date of production will be determined by the agreement of the parties.
                                                                                                  8

                                                                                                  9   REQUEST NO. 59: All of Your annual and quarterly reports, financial reports,
                                                                                                 10   financial reports, and financial statements (audited and unaudited), including
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   balance sheets, income statements, cash-flow statements, monthly reports and
                                                                                                      management reports and any analysis by You of any such financial statements.
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                                                                                                 13

                                                                                                 14   OBJECTION: NAF objects to this request on the basis that it calls for
                                                                                                 15   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 16   proportional to the needs of the case. NAF also objects to the request as vague,
                                                                                                 17   ambiguous, overly broad, and unduly burdensome.
                                                                                                 18

                                                                                                 19   RESPONSE: Due to the foregoing objections, NAF will not be producing
                                                                                                 20   documents responsive to this request.
                                                                                                 21

                                                                                                 22   REQUEST NO. 60: Any Documents provided to actual or prospective investors,
                                                                                                 23   including but not limited to materials distributed during roadshows, and/or private
                                                                                                 24   placement memorandum and/or private equity memorandum.
                                                                                                 25

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                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1   OBJECTION: NAF objects to this request on the basis that it calls for
                                                                                                  2   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                  3   proportional to the needs of the case. NAF also objects to this request as vague
                                                                                                  4   and ambiguous with respect to the terms and phrases “roadshows” and “private
                                                                                                  5   placement memorandum and/or private equity memorandum.” NAF further
                                                                                                  6   objects to the request as vague, ambiguous, overly broad, and unduly burdensome.
                                                                                                  7

                                                                                                  8   RESPONSE: Subject to and without waiving the foregoing objections, NAF is
                                                                                                  9   unaware of documents responsive to this request.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   REQUEST NO. 61: All Documents concerning any insurance policy obtained for
                                                                                                      the benefit of NAF (or its officers or directors), which may provide full or partial
WEINER BRODSKY KIDER PC




                                                                                                 12

                                                                                                 13   coverage for any of the claims asserted in this Action.
                                                                                                 14

                                                                                                 15   OBJECTION: NAF objects to this request on the basis that it calls for
                                                                                                 16   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 17   proportional to the needs of the case. NAF objects to the request as vague,
                                                                                                 18   ambiguous, overly broad, and unduly burdensome.
                                                                                                 19
                                                                                                 20   RESPONSE: Subject to and consistent with the foregoing objections, NAF refers
                                                                                                 21   Relator to its Initial Disclosures produced on August 28, 2019. NAF has no
                                                                                                 22   applicable insurance agreement.
                                                                                                 23

                                                                                                 24

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                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   REQUEST NO. 62: Your Document retention policy.
                                                                                                  2

                                                                                                  3   OBJECTION: NAF objects to the request as creating an undue burden, and will
                                                                                                  4   instead limit any production to relevant, non-privileged documents in its
                                                                                                  5   possession, custody, or control to the extent such documents are reasonably
                                                                                                  6   accessible and which NAF can locate after a reasonable search and review, and in
                                                                                                  7   a manner which is otherwise consistent with its legal obligations. NAF also
                                                                                                  8   objects to this request on the basis that it calls for documents that are not relevant
                                                                                                  9   to any party’s claims or defenses, and it is not proportional to the needs of the case.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                      produce documents responsive to this request that are within its possession,
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                                                                                                 12

                                                                                                 13   custody, or control, which are reasonably accessible, and which NAF can locate
                                                                                                 14   and identify after a reasonable search.
                                                                                                 15

                                                                                                 16   REQUEST NO. 63: All Documents concerning or referring to communications
                                                                                                 17   with any federal or state government entity or agent concerning Your compliance
                                                                                                 18   or lack thereof with HUD-FHA and/or VA regulations.
                                                                                                 19
                                                                                                 20   OBJECTION: NAF objects to the request as overly broad and unduly
                                                                                                 21   burdensome. NAF further objects to this request as vague and ambiguous with
                                                                                                 22   respect to the terms and phrases “compliance” and “federal or state government
                                                                                                 23   entity or agent.” NAF also objects to this request to the extent that it calls for
                                                                                                 24   documents that are not relevant to any party’s claims or defenses, and it is not
                                                                                                 25   proportional to the needs of the case.
                                                                                                 26

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                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   RESPONSE: Subject to and consistent with the foregoing objections, NAF
                                                                                                  2   disputes the legal characterization of this document request concerning
                                                                                                  3   “compliance or lack thereof with HUD-FHA and/or VA regulations.” However,
                                                                                                  4   NAF will produce HUD and VA audits which include communications with HUD
                                                                                                  5   and VA, which are reasonably accessible, and which NAF can locate and identify
                                                                                                  6   after a reasonable search.
                                                                                                  7

                                                                                                  8   REQUEST NO. 64: All Documents provided to any expert in connection with
                                                                                                  9   this Action.
                                                                                                 10
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   OBJECTION: NAF objects to this request on the basis that it is overly broad
                                                                                                      and unduly burdensome. NAF also objects to this request as premature. NAF
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                                                                                                 12

                                                                                                 13   further objects to this request to the extent it requests documents protected by the
                                                                                                 14   attorney-client privilege or the work production doctrine, or seeks to impose
                                                                                                 15   obligations above and beyond what Federal Rule of Civil Procedure 26 or any
                                                                                                 16   Court order requires.
                                                                                                 17

                                                                                                 18   RESPONSE: Subject to and consistent with the foregoing objections, NAF states
                                                                                                 19   that it will produce any expert report in accordance with the terms of the case
                                                                                                 20   management order entered by the Court and in accordance with the requirements
                                                                                                 21   of Fed. R. Civ. P. 26.
                                                                                                 22

                                                                                                 23   REQUEST NO. 65: All documents You identified or referred to in Your
                                                                                                 24   responses to Plaintiff’s First Set of Interrogatories to Defendant.
                                                                                                 25

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                                                                                                 28                                                  NAF’s Objections and Responses to Relator’s
                                                                                                                                                First Set of Requests for Production of Documents
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                                                                                                  1   OBJECTION: NAF objects to this request on the basis that it is duplicative of
                                                                                                  2   Relator’s interrogatories. This document request is also duplicative of Document
                                                                                                  3   Request Nos. 18, 20, 29, 38, 42, and 45.
                                                                                                  4

                                                                                                  5   RESPONSE: Subject to and consistent with the foregoing objections, NAF will
                                                                                                  6   produce its loan officer compensation policy identified in NAF’s response to
                                                                                                  7   Relator’s Interrogatory No. 1, its Underwriting Exception Policy and Procedures
                                                                                                  8   identified in NAF’s response to Relator’s Interrogatory No. 2 (See Bates Nos.
                                                                                                  9   NAF_QUI TAM_0000027760—NAF_QUI TAM_0000027761), its property
                                                                                                 10   appraisal policies and procedures identified in NAF’s response to Relator’s
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   Interrogatory No. 3 (See Bates Nos. NAF_QUI TAM_ 0000027408—NAF_QUI
                                                                                                      TAM_0000029356), its underwriting policies and procedures identified in NAF’s
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                                                                                                 13   response to Relator’s Interrogatory Nos. 4, 5, and 6 (See Bates Nos. NAF_QUI
                                                                                                 14   TAM_0000027739—NAF_QUI TAM_0000029356); and its quality control
                                                                                                 15   policies and procedures in NAF’s response to Relator’s Interrogatory No. 7.
                                                                                                 16

                                                                                                 17   REQUEST NO. 66: All Documents You intend to introduce at trial or any
                                                                                                 18   hearing in this Action.
                                                                                                 19
                                                                                                 20   OBJECTION: NAF objects to this request on the basis that it is overly broad,
                                                                                                 21   unduly burdensome, and duplicative. NAF also objects to this request as
                                                                                                 22   premature, as NAF has not yet had the opportunity to take discovery. Many of the
                                                                                                 23   documents responsive to this request are in the possession, custody, or control of
                                                                                                 24   HUD and VA.
                                                                                                 25

                                                                                                 26   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 27   states that it has not yet determined what documents it may or may not wish to
                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   introduce at trial or any hearing in this action.
                                                                                                  2

                                                                                                  3   REQUEST NO. 67: All Documents You intend to rely upon in proving any
                                                                                                  4   affirmative defense in Your Answer to the Amended Complaint in this Action filed
                                                                                                  5   on July 22, 2019.
                                                                                                  6

                                                                                                  7   OBJECTION: NAF objects to this request on the basis that it is overly broad,
                                                                                                  8   unduly burdensome, and duplicative. NAF also objects to this request as
                                                                                                  9   premature, as NAF has not yet had the opportunity to take discovery regarding its
                                                                                                 10   affirmative defenses. Many of the documents responsive to this request are in the
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11   possession, custody, or control of HUD and VA.
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                                                                                                 12

                                                                                                 13   RESPONSE: Subject to and without waiving the foregoing objections, NAF
                                                                                                 14   states that it has not yet determined what documents it may or may not wish to
                                                                                                 15   introduce in support of its affirmative defenses.
                                                                                                 16

                                                                                                 17   REQUEST NO. 68: Organizational charts of NAF showing all employees in
                                                                                                 18   Your underwriting, origination, endorsement and quality control departments, as
                                                                                                 19   well as their respective reports and supervisors.
                                                                                                 20

                                                                                                 21   OBJECTION: NAF objects to the request for “all” organizational charts as
                                                                                                 22   overly broad and creating an undue burden, and will instead limit any production
                                                                                                 23   to relevant, non-privileged documents in its possession, custody, or control to the
                                                                                                 24   extent such documents are reasonably accessible and which NAF can locate after a
                                                                                                 25   reasonable search and review, and in a manner which is otherwise consistent with
                                                                                                 26   its legal obligations.
                                                                                                 27

                                                                                                 28                                                   NAF’s Objections and Responses to Relator’s
                                                                                                                                                 First Set of Requests for Production of Documents
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                                                                                                  1   RESPONSE: Subject to and without waiving the foregoing objections, NAF is
                                                                                                  2   producing lists of current employees that are responsive to this request. See Bates
                                                                                                  3   Nos. NAF_QUI TAM_0000030779—NAF_QUI TAM_0000030785.
                                                                                                  4

                                                                                                  5   Dated: November 22, 2019              W EINER BRODSKY KIDER PC
                                                                                                  6
                                                                                                                                            /s/ Timothy P. Ofak
                                                                                                  7                                         Mitchel H. Kider (CA Bar No. 116479)
                                                                                                  8
                                                                                                                                            Joel A. Schiffman (CA Bar No. 90138)
                                                                                                                                            Timothy P. Ofak (Pro Hac Vice)
                                                                                                  9                                         Lindsay L. Buchanan (Pro Hac Vice)
                                                                                                 10
                                                                                                                                            1300 19th Street NW, Fifth Floor
                                                                                                                                            Washington, DC 20036
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11                                         Tel: (202) 628-2000
                                                                                                                                            Facsimile: (202) 628-2011
WEINER BRODSKY KIDER PC




                                                                                                 12
                                                                                                                                            Email: kider@thewbkfirm.com
                                                                                                 13                                                 schiffman@thewbkfirm.com
                                                                                                 14                                                 ofak@thewbkfirm.com
                                                                                                                                                    buchanan@thewbkfirm.com
                                                                                                 15

                                                                                                 16                                          Counsel for Broker Solutions, Inc.
                                                                                                                                             d/b/a New American Funding
                                                                                                 17

                                                                                                 18

                                                                                                 19
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                                                                                                 28                                                 NAF’s Objections and Responses to Relator’s
                                                                                                                                               First Set of Requests for Production of Documents
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                                                                                                  1
                                                                                                                              CERTIFICATE OF SERVICE

                                                                                                  2          I certify that on November 21, 2019, I caused the foregoing Defendant New
                                                                                                  3
                                                                                                      American Funding’s Objections and Responses to Relator’s First Set of Requests
                                                                                                      for Production of Documents to be sent via electronic mail to:
                                                                                                  4

                                                                                                  5
                                                                                                            J. Nelson Thomas (Pro Hac Vice)
                                                                                                            Jonathan W. Ferris (Pro Hac Vice)
                                                                                                  6         Michael J. Lingle (Pro Hac Vice)
                                                                                                  7
                                                                                                            Annette M. Gifford (CA Bar No. 270777)
                                                                                                            THOMAS & S OLOMON LLP
                                                                                                  8         693 East Avenue
                                                                                                  9         Rochester, NY 14607

                                                                                                 10         Daniel L. Berger (to be admitted Pro Hac Vice)
                          A Pr ofess ional Corporat ion f ormed in t he Dist rict of Columbia




                                                                                                 11         Kyle J. McGee (Pro Hac Vice)
                                                                                                            Laina M. Herbert (Pro Hac Vice)
WEINER BRODSKY KIDER PC




                                                                                                 12         GRANT & EISENHOFER P.A.
                                                                                                 13         123 Justison Street
                                                                                                            Wilmington, Delaware, 19801
                                                                                                 14

                                                                                                 15         C. Brooks Cutter (121407)
                                                                                                            John R. Parker, Jr. (257761)
                                                                                                 16         CUTTER LAW PC
                                                                                                 17         401 Watt Avenue
                                                                                                            Sacramento, CA 95864
                                                                                                 18
                                                                                                            Attorneys for Relator
                                                                                                 19
                                                                                                 20                                              /s/ Timothy P. Ofak
                                                                                                 21                                              Timothy P. Ofak
                                                                                                                                                 WEINER BRODSKY K IDER PC
                                                                                                 22                                              1300 19th Street, NW, Fifth Floor
                                                                                                 23                                              Washington, D.C. 20036
                                                                                                                                                 (202) 628-2000
                                                                                                 24                                              (202) 628-2011 (Fax)
                                                                                                 25
                                                                                                                                                 Attorney for Defendant
                                                                                                 26

                                                                                                 27

                                                                                                 28                                               NAF’s Objections and Responses to Relator’s
                                                                                                                                             First Set of Requests for Production of Documents
                                                                                                                                                                    Case No. 19-cv-01630-PSG
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 October 22, 2020
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 has not been established. Allen v. Similasan Corp., 2014 WL 2212120, at *2 (S.D.
 Cal. May 27, 2014) (“[S]tatutes of limitation are affirmative defenses that run from
 the accrual of a claim until litigation commences,” and “[g]enerally, they do not
 affect discovery.”). In general, statutes of limitations do not serve to limit the scope
 of discovery. Gottesman v. Santana, 2017 WL 5889765, at *5-6 (S.D. Cal. Nov. 29,
 2017) (rejecting argument that materials generated outside statute of limitation
 period are not discoverable and finding, “[t]he statute of limitations is not a rigid
 barrier separating discoverable information from information outside the scope of
 discovery”). In any event, the Request seeks documentation regarding loans on
 which HUD/FHA or VA have paid claims within the applicable limitations period.
 Thus, NAF’s objection is misplaced and legally meritless.
       Second, Defendant has objected to this Request “to the extent [it] seek[s]
 information and documents that are not relevant to a claim or defense of a party and,
 therefore, are beyond the scope of permissible discovery as prescribed by Federal
 Rule of Civil Procedure 26(b)(1). General Obj. No. 5. For the reasons stated above,
 these documents are highly relevant: they pertain to claims paid by HUD/FHA or
 VA during the limitations period. Thus, they are also within the scope of permissible
 discovery permitted by the Federal Rules, and are required to be produced.

        Third, Defendant has objected to this Request as “impos[ing] obligations
 beyond those prescribed by the Federal Rules of Civil Procedure or the Local Civil
 rules of the District Court for the Central District of California, and any Orders of
 the Court,” (General Obj. No. 2), and “to the extent [it is] overly broad, unduly
 burdensome, or oppressive, or do[es] not comply with the Federal Rules’
 proportionality requirement.” General Obj. No. 4. As we explained in our
 September 27, 2019 letter, “Rule 26 provides that a party “may obtain discovery
 regarding any nonprivileged matter that is relevant to any party’s claim or defense
 and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The September
 27 Letter also describes the analysis the Court undertakes when determining
 proportionality and explains why documents that bear on, or that reasonably could
 lead to matters that bear on, the massive, years-long, nationwide and systemic
 fraudulent scheme NAF perpetrated on the Government, such as the documents
 sought by this Request are relevant to Relator’s claims. As we noted in the
 September 27 Letter, Rules 26 and 34 require NAF to do much more to support its
 “proportionality” objection than simply invoke the word “proportionality.” Just as
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 Timothy P. Ofak, Esq.
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 we explained in that correspondence, if by “proportionality” NAF actually means
 “relevance,” that objection is frivolous and should be withdrawn.

        Finally, Defendant has refused to produce any documents in response to this
 Request, and instead, inter alia, “objects to this request for FHA and VA loan files
 as overly broad and unduly burdensome given the number of loan files—over 1,300
 FHA loan files identified by HUD—seemingly being requested.” Defendant raises
 a handful of other objections in its specific response to this Request, including that
 it objects to producing loans with HAMP loan modification incentive payments;
 FHA loans that are active loans; loan files for FHA streamline refinance loans; 1 loan
 files prior to NAF becoming a Direct Endorsement lender; loan files that were
 obtained by NAF prior to NAF obtaining automatic approved lender status from the
 VA; and loan files related to VA Interest Rate Reduction Refinance Loans. These
 objections are baseless. If NAF originated an FHA or a VA loan – regardless of the
 type or purpose of the FHA or the VA loan, the origination date, whether it has a
 HAMP loan modification incentive payment, or whether the loans were originated
 before or after NAF became a DE lender or NAF obtained automatic approved lender
 status for the VA Program – and that loan resulted in any claim being made on the
 Government after January 1, 2011, then it is subject to Relator’s complaint and must
 be produced.

       We look forward to your written response and to promptly scheduling a meet-
 and-confer call to discuss these issues.


                                                Very truly yours,

                                                    /s/ Laina M. Herbert

                                                Laina M. Herbert

     cc:   Kyle J. McGee, Esq. (via e-mail)
           Mitchel H. Kider, Esq. (via e-mail)
           Joshua A. Rosenthal, Esq. (via e-mail)

 1
  NAF’s sudden refusal to produce FHA streamline loans is curious because its
 production contains several such loans.
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       Joel A. Schiffman, Esq. (via e-mail)
       Lindsay L. Buchanan, Esq. (via e-mail)
       Joshua H. Abel, Esq. (via e-mail)
       Evan M. Rothman, Esq. (via e-mail)
       Daniel L. Berger, Esq. (via e-mail)
       J. Nelson Thomas, Esq. (via e-mail)
       Jonathan W. Ferris, Esq. (via e-mail)
       Michael J. Lingle, Esq. (via e-mail)
       Annette M. Gifford, Esq. (via e-mail)
       C. Brooks Cutter, Esq. (via e-mail)
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Thanks, Lindsay. We agree to the proposed compromise. Please let us know when we should
expect NAF to produce these loans.

Regards,

Laina M. Herbert | Grant & Eisenhofer P.A.
Associate
123 S. Justison Street
Wilmington, DE 19801
Tel: 302.622.7016
Fax: 302.622.7100
Cell: 302.332.4210
LHerbert@gelaw.com | www.gelaw.com

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Tim,

Thank you for meeting and conferring with us this afternoon. We look forward to your written
response to our October 22, 2020 letter on or before Friday, November 6, 2020.

As we discussed, we believe the parties can reach a compromise regarding the documents
requested in Document Request No. 77 and avoid motion practice. As part of that compromise,
we will accept production of all responsive FHA and VA loan files that were not Streamline
Refis or IRRRLs that resulted in a claim being made after January 1, 2011 regardless of
origination date; all active FHA and VA loans that resulted in a claim being made after January
1, 2011 regardless of origination date; and all FHA and VA loans with HAMP loan
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modification incentive payments that resulted#:2669
                                               in a claim being made after January 1, 2011
regardless of origination date. Based on our discussion, we understand this compromise would
significantly reduce the purported burden on your client as many of the otherwise responsive
loan files are Streamline Refis (or IRRRLs).

We appreciate you looking into the issues concerning the spreadsheet related to NAF’s
September 30 loan production. We will look for the revised spreadsheet and for your written
explanation concerning the data dictionary fields and data that NAF proposes producing next
week. We also look forward to receiving a projected timeline for production of ESI materials
within the next 2 weeks.

Thanks, Laina

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                                       #:2671




Tim,

Thank you for meeting and conferring with us this afternoon. We look forward to your written
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we will accept production of all responsive FHA and VA loan files that were not Streamline
Refis or IRRRLs that resulted in a claim being made after January 1, 2011 regardless of
origination date; all active FHA and VA loans that resulted in a claim being made after January
1, 2011 regardless of origination date; and all FHA and VA loans with HAMP loan
modification incentive payments that resulted in a claim being made after January 1, 2011
regardless of origination date. Based on our discussion, we understand this compromise would
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We appreciate you looking into the issues concerning the spreadsheet related to NAF’s
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within the next 2 weeks.

Thanks, Laina

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                                       #:2674




Tim,

We have added our comments to your proposed searches in Column C of the attached. We are
available for a meet and confer on Wednesday or Thursday. Please let us know your availability
and we will circulate dial-in information.

Thanks, Laina

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Tim,

Thanks for sending your proposed modifications to the email hit report. We have added our
comments to your changes on the “Total” tab in column G.

-Laina

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                                       #:2676




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Tim,

Let’s go with 11:00 a.m. I will circulate a calendar invite with dial-in information.

Thanks, Laina


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                                       #:2677




Tim,

Are you available for a meet and confer tomorrow after 10:00 a.m. or after 4:00 p.m.? We
would like to discuss the search terms hit list and the data dictionaries, and raise a few questions
about the most recent production.

Thanks, Laina

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                                       #:2679




Tim,

Thanks for sending your proposed modifications to the email hit report. We have added our
comments to your changes on the “Total” tab in column G.

-Laina

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Tim,

Let’s go with 11:00 a.m. I will circulate a calendar invite with dial-in information.

Thanks, Laina


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                                       #:2681




Tim,

Are you available for a meet and confer tomorrow after 10:00 a.m. or after 4:00 p.m.? We
would like to discuss the search terms hit list and the data dictionaries, and raise a few questions
about the most recent production.

Thanks, Laina

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                                      #:2683




Tim,

Thank you for the meet and confers yesterday and today. After considering your positions, and
in particular taking into account that we may have a dispute over whether NAF will produce the
loan files for all the loans that HUD identified as having defaulted during the relevant period,
which we will need time to raise with the Court, or if there is no dispute, NAF will need time to
gather and produce such loan files, and we will need time to review them; we have concluded
that a significant extension to the current discovery schedule is necessary. In addition to
potential motion practice, it will take quite some time for our experts to review and analyze all
the newly-produced loan files. We had been under the impression that NAF did not make credit
determinations with regard to streamline loans, and only recently learned that is not always the
case.

Further, responding to Interrogatory Nos. 8-17 requires a significant amount of time to process
and assemble a vast amount of information, and we cannot provide complete responses until our
experts have reviewed all defaulted loan files.

Accordingly, the schedule must be revised, and the depositions that are currently on the
calendar should be adjourned and rescheduled for a later date. As a reminder, these are as
follows:

Sept 29 – Russ Stanton
Oct 4 – Rick Arvielo
Oct 12 – Kevin English
Oct 14 – Cynthia Hamilton
Oct 26 – Debra Nesmith
Oct 27 – Michelle Rogers

We will follow up with a more detailed letter on Monday, but we wanted to convey our position
as soon as possible, so that you might alert the witnesses and they can adjust their schedules
accordingly. In the meantime, we are available to discuss at your earliest convenience.

Regards, Laina
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